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                                 No. 23-5600

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE SIXTH CIRCUIT
                         ______________

      L.W., by and through parents and next friends, Samantha Williams
               and Bryan Williams, et al., Plaintiffs-Appellees,

                                     and

           UNITED STATES OF AMERICA, Intervenor-Appellee,

                                      v.

      JONATHAN THOMAS SKRMETTI, in his official capacity as the
    Tennessee Attorney General and Reporter, et al., Defendants-Appellants.
                             ______________

          On Appeal from the United States District Court for the
      Middle District of Tennessee (No. 3:23-cv-00376) (Richardson, J.)


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                STATEMENT REGARDING ORAL ARGUMENT

      Tennessee agrees with the panel that oral argument is warranted and,

therefore, requests oral argument. Order, Doc.45, at 2. This appeal involves

important issues of constitutional law. The district court preliminarily enjoined

Defendants-Appellants from enforcing Tenn. Code Ann. §68-33-101, et seq.—a

bipartisan Act that protects Tennessee children from unproven medical practices

likely to reduce bone density, stunt mental development, and result in sterilization.

      In its erroneous decision, the district court broadly defined a new fundamental

right for parents to subject their children to any medical treatment; improperly

expanded the scope of sex discrimination under the Equal Protection Clause; and

declared that transgender individuals constitute a quasi-suspect class, which neither

the Supreme Court nor this Court has ever done. The district court expressly rejected

Supreme Court precedent to justify issuing a statewide injunction. The district court

denied Tennessee’s request for an evidentiary hearing to support its contention that

the minor Plaintiffs’ sole in-state provider would not restart treatment even if a

preliminary injunction issued. Plaintiffs knew but neglected to inform Tennessee or

this Court that their provider refused to reinitiate treatment while the preliminary

injunction was in place.

      Oral argument will likely aid the Court’s review and should not prevent

resolution of the appeal by September 30, 2023. Stay Op., Doc.44-2, at 15.



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                         STATEMENT OF JURISDICTION

      Plaintiffs invoked the district court’s subject-matter jurisdiction under

28 U.S.C. §§1331, 1343, 1367. Compl., R.1, PageID#6-7. The district court issued

its order granting Plaintiffs’ preliminary injunction motion on June 28, 2023. Order,

R.168, PageID#2726. The district court ruled that Plaintiffs, other than Dr. Lacy,

had Article III standing to challenge the hormone and puberty-blocker prohibitions.

Id. PageID#2725-26; Op., R.167, PageID#2663-65. The district court also ruled that

the Act would cause Plaintiffs, again other than Dr. Lacy, to experience irreparable

harm that the preliminary injunction would redress. Id. PageID#2713-17, 2719-22.

Defendants continue to assert that all Plaintiffs failed to prove that a preliminary

injunction was necessary to prevent their alleged harms and that Dr. Lacy lacks

third-party standing.

      Defendants timely appealed on June 28, 2023. Notice of Appeal, R.169,

PageID#2728-32.         This Court has statutory jurisdiction under 28 U.S.C.

§1292(a)(1).




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                           STATEMENT OF THE ISSUE

      Whether the district court abused its discretion by preliminarily enjoining the

Defendants from implementing statewide, against parties and nonparties alike, the

Act’s prohibitions against administering hormones or puberty blockers to minors.

                                 INTRODUCTION

      The Western world is seeing an astonishing increase in young people

presenting with gender dysphoria. As of yet, there is no consensus. American

establishment medicine, co-opted by pharmaceutical companies and activists,

sponsors a virtually unmonitored on-ramp of “affirmation,” first through social

transition and pharmaceuticals. Next comes “sex-reassignment surgery,” including

double mastectomies for girls and castration of boys. By contrast, the national health

services of Sweden, the United Kingdom, Finland, and Norway have abandoned this

approach for children, deeming the evidence of benefit scant and the risks

significant.

      As just one example, Sweden once was the world leader in advancing these

“therapies.” Astonished by the exponential increase in the number of children and

young adults diagnosed with gender dysphoria, Sweden’s most renowned

researchers conducted a comprehensive review of all the evidence and determined

that the “long-term effects of hormone therapy on psychosocial and somatic health

are unknown, except that [puberty blockers] seem[] to delay bone maturation and



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gain in bone mineral density.” Landén, et al., A systematic review of hormone

treatment for children with gender dysphoria and recommendations for research,

Acta Paediatrica, 2023;00:1,12 (April 18, 2023); R.113-2, PageID#1086. That

review “has resulted in essentially a ban on puberty blockers, cross-sex hormones,

and surgeries” for gender-dysphoric children in Sweden. Román Decl. ¶33, R.113-6,

PageID#1529.

      A week after Governor Lee signed the Act into law, the editor-in-chief of the

British Medical Journal, among the most prestigious in the world, summed up the

state of play: American medical societies are monolithic in their support of these

treatments, but “closer inspection” shows that “the strength of clinical

recommendations is not in line with the strength of evidence.” Kamran Abbasi,

Caring for young people with gender dysphoria, BMJ 2023;380:553 (Mar. 9, 2023),

dx.doi.org/10.1136/bmj.p553. In other words, the “risk of overtreatment of gender

dysphoria is real.” Id.

      Legislatures in this country face an important policy choice with regard to

these therapies—the choice between deference to the consensus of American

medical societies or the more sober evidence-based conclusions of Western Europe.

In our Federal system, the States retain primacy over that question. The people of

this country did not agree in their Constitution “to remove debates of this sort—

about the use of new drug treatments on minors—from the conventional place for



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dealing with new norms, new drugs, and new technologies: the democratic process.”

Stay Op.6. Not today, and certainly not in 1868. As this Court has already observed,

state laboratories of democracy are testing a wide variety of solutions to this

problem, ranging from strong endorsement of the affirmation model to laws like

Tennessee’s and Kentucky’s. Stay Op.6-7.

      Tennessee acted after its people and its General Assembly were shocked by

public reporting about Vanderbilt University Medical Center. In September 2022,

the Tennessee public learned that Vanderbilt was engaged in a widespread and

profit-motivated practice of prescribing hormones and conducting surgeries on

children for the asserted purpose of treating gender dysphoria. See Kruesi, Social

media posts spark calls to investigate Tenn.’s VUMC, AP News (Sept. 21, 2022),

Ex.1-A to PI Resp., R.113-1, PageID#962. “We have some individuals who have

started gender-affirming hormones at 13 or 14” years-old, declared the Vanderbilt

doctor who treats all the minor patients in this case. Ex.1-B, R.113-1, PageID#963

(video at 45:41-45:45 (Dr. Brady speaking)). Vanderbilt performed “[t]op surgery”

(i.e., double mastectomy) on gender-dysphoric minors as young as 16. Ex.1-C,

R.113-1, PageID#979. The founder of Vanderbilt’s Transgender Health Clinic

boasted that “top surgeries” would “make a lot of money” for Vanderbilt, as would

“routine hormone treatment.” Ex.1-D, R.113-1, PageID#987 (video at 0:11-0:47

(Dr. Taylor speaking)). And she admitted that “[w]e have very, very little data to



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guide our treatment.” Ex.1-G, R.113-1, PageID#1048 (video at 37:29-37:32). Faced

with this medical recklessness by one of the State’s premier medical institutions and

heeding the growing concerns of the unbiased medical community in Western

Europe, the General Assembly deliberated and acted.

                                        ***

      Plaintiffs wish to convert their understandable frustration with the result of

the policy-making process into a court-ordered frustration of the will of the people

of Tennessee. The district court issued the requested preliminary injunction. It

gravely erred.

      There is no substantive-due-process right for parents to override state law and

obtain puberty blockers or hormones for a child suffering from gender dysphoria.

Fundamental rights “must be ‘deeply rooted in this Nation’s history and tradition’

and ‘implicit in the concept of ordered liberty.’” Dobbs v. Jackson Women’s Health

Org., 142 S.Ct. 2228, 2242 (2022) (quoting Washington v. Glucksberg, 521 U.S.

702, 721 (1997)). To “validly assert a substantive due process claim, a petitioner

must provide a ‘careful description of’ the claimed liberty interest.” Clark v.

Jackson, 2023 WL 2787325, at *5 (6th Cir. Apr. 5). The district court failed to obey

that limit on its power to pronounce an unenumerated right in our practically

unamendable Constitution. The right that Plaintiffs seek—a parent’s supposed

“fundamental right to direct the medical care of his or her child,” Op., R.167,



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PageID#2666—is stated at such a high level of abstraction that it would logically

imply a right for a parent to obtain an abortion for a pregnant 17-year-old in a state

where elective abortion is prohibited, a result flatly inconsistent with Dobbs.

       Plaintiffs’ equal-protection claims are similarly flawed. Their theory of sex

discrimination ignores that the Act treats minors of both sexes equally. Perhaps

more importantly, while hiding behind the aegis of the American medical

establishment, Plaintiffs’ arguments about what constitutes the same “treatment” fly

in the face of bedrock pharmaceutical medicine. Plaintiffs say that giving puberty

blockers for the physical condition of “precocious puberty” is the same treatment as

giving them for the mental condition of “gender dysphoria.” That is true only in a

mechanistic sense—the drugs are delivered the same way. But pharmaceutical

intervention is measured by a benefit-risk analysis: Do the benefits to the patient

outweigh the risks associated with the treatment? E.g., Benefit-Risk Assessment in

Drug      Regulatory       Decision-Making,       FDA       (Mar.      30,        2018),

www.fda.gov/media/112570/download (FDA uses a “benefit-risk” analysis to

decide whether to approve new drugs and new uses of old drugs.). That assessment

cannot be isolated from the condition being treated because the benefits of treatment

(or the risks of non-treatment) differ.

       This is why a regulation of a medical procedure that only one sex can undergo

is not sex discrimination. The same acts performed on the opposite sex would not



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be the same treatment. Geduldig v. Aiello, 417 U.S. 484, 496 (1974). Plaintiffs’

contrary view is that the Equal Protection Clause requires obsessing over the

mechanics while ignoring medical and biological realities. This is an impressive

pirouette for the people who proclaim that science is on their side. Plaintiffs would

have a court hold that implanting an embryo into a woman (high benefit, low risk)

is the same treatment when performed on a man (zero benefit, unacceptable risk).

To state the proposition is to refute it.

       The district court’s alternative holding that transgender persons constitute a

quasi-suspect class flies in the face of this Court’s precedents. Gay persons are not

a quasi-suspect class because, unlike “race or biological gender,” sexual orientation

is not “definitively ascertainable at the moment of birth.” Ondo v. City of Cleveland,

795 F.3d 597, 609 (6th Cir. 2015). Transgender status, like sexual orientation, is not

“definitively ascertainable at the moment of birth.” Id. Until the Supreme Court

says otherwise, rational-basis review applies to transgender-based classifications.

       Plaintiffs fare no better as to the scope of relief and their obligation to

demonstrate standing sufficient to justify the preliminary injunction.         Despite

Tennessee’s repeated warnings that the precedents of the Supreme Court and this

Court foreclosed statewide “facial” relief, Plaintiffs persuaded the District Court to

enter an overbroad injunction. A preliminary injunction did not even solve the

problem Plaintiffs sought to remedy. Plaintiffs brazenly told this Court on July 6



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that Tennessee had “misleadingly assert[ed] . . . that [minor] Plaintiffs’ physician

might not resume treatment” under the preliminary injunction. Stay Resp., Doc.37,

at 25-26. But Vanderbilt had already confirmed one week earlier in a private

communication with one of the Plaintiffs that it would not reinitiate treatment.

Astonishingly, Plaintiffs did not inform this Court or Tennessee during the stay-

motion proceedings that Tennessee’s long-standing prediction of the lack of efficacy

of a preliminary injunction had proven true. Dr. Lacy’s presence in this case fixes

nothing for Plaintiffs because she lacks third-party standing for her equal protection

claim—her only asserted basis for a preliminary injunction.

       In short, this Court was right to stay the preliminary injunction. It should now

reverse it.

                               STATEMENT OF THE CASE

       A.      Tennessee Acts to Protect Children from Unproven Treatments

       Seeking to “protect the health and welfare of minors” in Tennessee, state

legislators introduced the Act in November 2022. See S.B.1, 113th Gen. Assem.

(2023), codified at Tenn. Code Ann. § 68-33-101, et seq., R.33-1, PageID#444-50.

It took effect July 1, 2023.

       The Act prohibits certain medical procedures on a minor “for the purpose of”

either (1) “[e]nabling a minor to identify with, or live as, a purported identity

inconsistent with the minor’s sex” or (2) “[t]reating purported discomfort or distress



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from a discordance between the minor’s sex and asserted identity.” Tenn. Code

Ann. §68-33-103(a)(1). Prohibited procedures include surgery and the use of

puberty blockers and hormones. Id. §68-33-102(5). The Act includes a grace period

that, with some limitations, allows minors currently receiving treatment to continue

to do so until March 31, 2024. Id. §68-33-103(b). It expressly allows healthcare

providers to perform procedures to treat congenital defects, the physical condition

known as precocious puberty, diseases, and physical injuries. Id.

         The Act authorizes the Tennessee Attorney General to enforce its

prohibitions. Id. §68-33-106. It permits state regulatory authorities to initiate

disciplinary proceedings against providers who violate the Act. Id. §68-33-107.

And it creates a private right of action, enabling minors and non-consenting parents

to sue offending providers—which Plaintiffs concede, and the district court has held,

is not at issue in this case. Id. §68-33-105. Section 68-33-105 is possibly the reason

that Vanderbilt did not reinitiate treatment while the preliminary injunction was in

place.

         In adopting the Act, the General Assembly was concerned that the prohibited

procedures can lead to minors “becoming irreversibly sterile, having increased risk

of disease and illness, or suffering from adverse and sometimes fatal psychological

consequences.” Id. §68-33-101(b). It also determined that the harms of these

treatments when performed on a minor “are not yet fully known” and, in any case,



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outweigh any potential near-term benefits because they “are experimental in nature

and not supported by high-quality, long-term medical studies.” Id.

      These concerns are well-founded, as demonstrated by the declarations that

Tennessee produced from experts in the fields of endocrinology, psychiatry, and

clinical psychology.

      Start with puberty blockers, the on-ramp for many minors. Giving puberty

blockers to a physically healthy adolescent going through normal pubertal

development induces the diseased state of hypogonadotropic hypogonadism,

causing diminished bone density, as well as infertility and sexual dysfunction due to

undeveloped sex organs. Laidlaw Decl. ¶¶63-108, R.113-7, PageID#1558-66. Even

the Endocrine Society acknowledges that the “primary risks of pubertal suppression”

to treat gender dysphoria are “adverse effects on bone mineralization,”

“compromised fertility if the person subsequently is treated with sex hormones,” and

“unknown effects on brain development.” ES Guidelines, R.113-10, PageID#2009.

The FDA has approved puberty blockers to rectify a hormonal imbalance in young

children caused by precocious puberty but has not approved their use to treat gender

dysphoria. Levine Decl. ¶175, R.113-5, PageID#1455; Laidlaw Decl. ¶¶74-77,

94-96, R.113-7, PageID#1559-60,1563.

      While some proponents say puberty blockers are merely a “pause button,”

research shows that is not the case. Nearly all minors who start puberty blockers



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progress to sterilizing cross-sex hormones, and the majority go on to have

sex-reassignment surgery. See Levine Decl. ¶¶128-29, R.113-5, PageID#1441 (UK

study found 98% of adolescents who used puberty blockers progressed to cross-sex

hormones); Laidlaw Decl. ¶92, R.113-7, PageID#1562 (Dutch study found 100% of

adolescents who took puberty blockers progressed to cross-sex hormones; follow-up

study found most went on to have sex-reassignment surgery). This is alarming

because, without hormonal intervention, the vast majority of children exhibiting

gender dysphoria align their gender identity with their sex by the time they reach

adulthood, and desistence is increasingly observed among teens and young adults

who first manifest gender dysphoria during or after adolescence. Levine Decl. ¶¶93,

105-118, PageID#1430,1434-37; Hruz Decl. ¶62, PageID#1305 (peer-reviewed

literature reported desistence in approximately 85% of children before the adoption

of the “affirming” model).

      The long-term harms of cross-sex hormones also outweigh any purported

benefits. Giving girls high doses of testosterone induces the diseased state of severe

hyperandrogenism, causing clitoromegaly, atrophy of the lining of the uterus and

vagina, irreversible vocal cord changes, hirsutism, a “[v]ery high risk of”

erythrocytosis, and increased risk of myocardial infarction, severe liver dysfunction,

coronary artery disease, cerebrovascular disease, hypertension, and breast or uterine

cancer. Laidlaw Decl. ¶¶117-144, R.113-7, PageID#1568-74; see ES Guidelines,



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R.113-10, PageID#2013. And giving boys high doses of estrogen induces the

diseased state of hyperestrogenemia, causing sexual dysfunction and leading to a

“[v]ery high risk of” thromboembolic disease and increased risk of

macroprolactinoma, breast cancer, coronary artery disease, cerebrovascular disease,

cholelithiasis, and hypertriglyceridemia.     Laidlaw Decl. ¶¶145-54, R.113-7,

PageID#1575-76; see ES Guidelines, R.113-10, PageID#2013.             Like puberty

blockers, the FDA also has not approved the use of cross-sex hormones to treat

gender dysphoria. Laidlaw Decl. ¶¶119, R.113-7, PageID#1568.

      Both puberty blockers and cross-sex hormones threaten a child’s fertility and,

if successful in blocking puberty, will render the child infertile. Hruz Decl. ¶¶52,

89, R.113-4, PageID#1302,1320.

      The General Assembly also found that “minors lack the maturity to fully

understand and appreciate the life-altering consequences of such procedures and that

many individuals have expressed regret for medical procedures that were performed

or administered on them for such purposes when they were minors.” Tenn. Code

Ann. §68-33-101(h); see also Nangia Decl. ¶¶154-58, R.113-8, PageID#1709-11.

      With increasing frequency, detransitioners have come forward lamenting the

harmful effects of these treatments. Levine Decl. ¶¶110-18, R.113-5, PageID#

1435-37; Cole Decl., R.113-11, PageID#2032-37; Kerschner Decl., R.113-12,

PageID#2039-42; Mosely Decl., R.113-13, PageID#2044-45. Parents—including a



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Tennessee father whose daughter saw the same Vanderbilt doctor as minor

Plaintiffs—have voiced concern over healthcare providers pressuring them to place

their children on the “conveyor belt” of medical transition without first treating

psychological comorbidities or explaining the long-term harms. Parent Decls.,

R.113-14—113-19, PageID#2046-78.

      No reliable studies demonstrate that medical transition lowers suicide rates,

nor is there reliable evidence that medical transition improves long-term mental

health relative to other treatments lacking medical risk. Cantor Decl., ¶¶147-153,

177-200, R.113-3, PageID#1158-61, 1177-82; Laidlaw Dec., ¶207-11, R.113-7,

PageID#1588-89 (long-term study showed suicide rate for sex-reassigned group was

19 times higher than for the general population); Nangia Decl. ¶¶145-47, R.113-8,

PageID#1698 (describing benefits of psychodynamic therapy). And the protocols

adopted by WPATH and the Endocrine Society promoting medical transition for

minors are based on “very low quality” evidence under established research

evaluation standards. Cantor Decl. ¶¶82, 88-104, R.113-3, PageID#1131-40; Levine

Decl. ¶¶134-37, 173-74, 187, R.113-5, PageID#1443, 1454-55, 1459; Laidlaw Decl.

¶¶173-182, R.113-7, PageID#1580-82.          Studies cited by proponents of these

treatments lacked control groups, were short-term, and failed to consider other

factors that prevent finding causation, as opposed to mere correlation. Cantor Decl.

¶¶45-69, 277-80, 285, 293-95, 298-311, R.113-3, PageID#1116-24, 1207-20.



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      Systematic reviews by national health authorities in Sweden, the United

Kingdom, Finland, and Norway have all concluded that the harms associated with

these treatments are significant, and the long-term benefits are unproven. Román

Decl. ¶¶14-38, R.113-6, PageID#1521-31; Cantor Decl. ¶¶16-35, 70-87, R.113-3,

PageID#1102-11, 1125-34. Those countries have banned these treatments outside

controlled research settings. Cantor Decl. ¶¶16-35, R.113-3, PageID#1102-11;

Román Decl. ¶33, R.113-6, PageID#1529. They and others regard these treatments

as experimental. Cantor Decl. ¶¶167-71, 302, R.113-3, PageID#1168-70, 1215.

      This month, twenty-one medical professionals from nine countries (including

Tennessee’s experts Dr. Román and Dr. Levine) published a letter in the Wall Street

Journal reiterating how every systematic review to date “has found the evidence for

mental-health benefits of hormonal interventions for minors to be of low or very low

quality” and how there is “no reliable evidence to suggest that hormonal transition

is an effective suicide-prevention measure.” Kaltiala et al., Youth Gender Transition

Is Pushed Without Evidence, Wall St. J. (July 14, 2023), perma.cc/P9GM-MHF7.

Noting “the risks are significant” and highlighting the growing international

consensus that psychotherapy should be the “first line of treatment for gender-

dysphoric youth,” they urged American medical societies “to align their

recommendations with the best available evidence—rather than exaggerating the

benefits and minimizing the risks.” Id.



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      Finally, per the legislature, “many of the same pharmaceutical companies that

contributed to the opioid epidemic have sought to profit from the administration of

drugs” to minors “or have paid consulting fees to physicians who then advocate for

administration of drugs” for the prohibited purposes. §68-33-101(i). Tennessee

chose not to blindly obey the preferences of biased interest groups and instead took

the side of caution in protecting the children within its borders.

      B.     District Court Grants Preliminary Injunction

      A month-and-a-half after the law’s enactment, three minors currently on

cross-sex hormones or puberty blockers, their parents, and Dr. Lacy (a Memphis

physician) brought this action against multiple Tennessee officials for declaratory

and injunctive relief, claiming the Act violates due process and equal protection.

Compl., R.1, PageID#1-43. Plaintiffs do not challenge the Act’s private right of

action under §68-33-105. Op., R.167, PageID#2662. They moved for a statewide

preliminary injunction to restrain the Defendants from enforcing the rest of the Act.

PI Mot., R.21, PageID#191-95; PI Mem., R.33, PageID#411-43. (The United States

intervened in support of Plaintiffs and also sought a statewide preliminary

injunction. U.S. PI Mot., R.40, PageID#501-06. The district court has not ruled on

the United States’ preliminary-injunction motion.)

      The district court denied Tennessee’s request for a consolidated preliminary

injunction hearing and trial on the merits in early 2024, before the Act’s grace period



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expires. Order, R. 89, PageID#806-12. Tennessee had explained that the only relief

the district court could order would run to the individual parties; that Dr. Lacy lacked

standing; and that the availability of the continuing-care exception for the minor

Plaintiffs meant no emergency was, in fact, present.          Mot. to Reset Briefing

Schedule, R.74, PageID#667-77; Reply in Support of Mot. to Reset Briefing

Schedule, R.84, PageID#739-49.

      Tennessee opposed Plaintiffs’ motion for a preliminary injunction with

thorough evidentiary support, including expert- and fact-witness testimony. PI Opp.,

R.112, PageID#919-52.

      As Plaintiffs’ Complaint alleged and declarations explained, Vanderbilt was

the sole institution providing the minor Plaintiffs with hormones or puberty blockers

for treatment of gender dysphoria; but Vanderbilt had announced it would stop

providing these treatments by July 1, 2023, despite the Act allowing the provision

of care to continue until March 31, 2024. Compl. ¶¶97-103, 113-21, 128-32;

Samantha Williams Decl. ¶¶16-26, R.23, PageID#206-09; Jane Doe Decl. ¶¶15-26,

R.25, PageID#219-21; Rebecca Roe Decl. ¶¶18-31, R.27, PageID#234-37. The only

other providers in Tennessee identified in this litigation—Dr. Lacy herself and

CHOICES in Memphis—do not provide these treatments to minors under 16, so

“[w]ith care being cut-off at Vanderbilt on July 1st,” Plaintiffs asserted “there are no

in-state options for treatment” of the minor Plaintiffs. Rebecca Roe Reply Decl.



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¶¶4-5, R.139, PageID#2380-81; see Lacy Decl. ¶12, R.28, PageID#241. Tennessee

argued that it was at best unclear whether Vanderbilt would reinitiate care for the

minor Plaintiffs if there was a preliminary injunction. Tennessee thus sought to

compel testimony from Vanderbilt officers on the subject. However, the district

court ultimately denied Tennessee’s request for an evidentiary hearing on whether a

preliminary injunction would actually redress Plaintiffs’ alleged harm.         Order,

R.122, PageID#2206; Order, R.148, PageID#2534.

      On June 28, three days before the Act’s effective date, the district court

partially granted Plaintiffs’ motion and facially enjoined the State’s enforcement of

the Act statewide as to puberty blockers and cross-sex hormones. Op., R.167,

PageID#2656-724; Order, R.168, PageID#2725-27.             The court held that these

portions of the Act likely violate both due process and equal protection and that an

injunction would likely prevent irreparable harm to the minor Plaintiffs and their

parents. Id. The district court justified the injunction’s statewide scope by asserting

“it is far-fetched that healthcare providers in Tennessee would continue care

specifically for Minor Plaintiffs when they cannot do so for any other” minor, even

though the Act allows providers to continue care for minors through March 2024

and does not stop treatment of adults. Op., R.167, PageID#2719. The injunction

did not extend to the Act’s surgery prohibition, which the court found Plaintiffs lack

standing to challenge. Order, R.168, PageID#2725-26.



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      Within hours of the district court’s preliminary injunction ruling, Tennessee

appealed and asked the district court for an emergency stay of the injunction pending

appeal.    Notice of Appeal, R.169, PageID#2728-32; Stay Mot., R.170,

PageID#2733-42. On June 30, the district court denied the stay. Order, R.172,

PageID#2747-50.

      C.     Proceedings in this Court and New Information Disclosed

      On the evening of that same day, Tennessee asked this Court to issue an

emergency stay pending appeal. Stay Mot., Doc.8-1. On July 8, this Court granted

Tennessee’s emergency motion and stayed the preliminary injunction. Stay Op.,

Doc.44-2. This Court then consolidated Tennessee’s appeal with one subsequently

filed by Kentucky. Order, Doc.45.

      Plaintiffs promptly asked Defendants to agree to a stay of discovery in the

district court. In response to Plaintiffs’ request, Tennessee stressed its prior request

for documents regarding communications between Plaintiffs and Vanderbilt and

sought confirmation that Plaintiffs had fully supplemented their production. On July

17, Plaintiffs produced communications with Vanderbilt confirming that on the

morning of June 30—before Tennessee filed its emergency motion in this Court and

nearly a week before Plaintiffs filed their response—Vanderbilt advised one of the

Plaintiffs that it had chosen not to resume treatment despite the injunction being




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entered.1 Until July 17, Plaintiffs never disclosed that information to Tennessee, this

Court, or the district court, despite their repeated (and unfounded) argument that an

injunction would cause Vanderbilt to resume treatment and that Tennessee’s

arguments to the contrary were “misleading[].” Stay Resp.25-26.

                           SUMMARY OF ARGUMENT

      This Court should reverse the district court’s preliminary injunction order for

the same reasons that this Court stayed it. The district court abused its discretion by

contorting Fourteenth Amendment jurisprudence and exceeding its remedial powers.

      The Act is constitutional. The purported fundamental right at stake—the right

of parents to subject their children to hormones and puberty blockers as treatment

for gender dysphoria—is neither deeply rooted in history and tradition nor implicit

in the concept of ordered liberty. These treatments did not exist in 1868. They are

novel. States historically retained power to regulate the closest approximations of

these treatments under rational-basis review.

      Plaintiffs’ equal-protection arguments are similarly misplaced.          The act

protects boys and girls equally. The recognition of biological sex is not sex

stereotyping, at least by the standards of 1868. And the district court, in its quest to




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 If the Court would like to see this document, Defendants would be glad to file it
under seal. This communication occurred after the district court’s decision and was
not disclosed to Defendants until July 17. Accordingly, it is not in the record.

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declare transgender status a quasi-suspect classification, was wrong to cast aside

relevant precedents from this Circuit.

      Rational-basis review is the appropriate standard. There is no need for

second-guessing the General Assembly’s fact-finding. But if the Court did, it would

find that the Act survives any level of review. The prohibited treatments are

unproven, and the risks likely outweigh the benefits, as many countries in Western

Europe agree.

      Plaintiffs also failed to carry their burden of demonstrating a substantial

likelihood of standing, a prerequisite for a preliminary injunction. At Plaintiffs’

prompting, the district court denied Tennessee’s request for an evidentiary hearing,

resulting in an injunction based on speculation about Vanderbilt that Plaintiffs knew

was wrong even before Tennessee sought an emergency stay at this Court.

      The district court was wrong to enjoin Defendants’ enforcement statewide. It

lacked authority to do so. Even if the district court’s mistaken speculation about

Vanderbilt’s reaction to the preliminary injunction had been correct, a statewide

injunction was more burdensome than necessary to remedy the harms of the minor

Plaintiffs and their parents. The district court placed too much stock in labeling this

a facial challenge and then called the Supreme Court’s canonical test for facial

challenges a dead letter.




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      The preliminary injunction irreparably harmed Tennessee every day it was in

effect by preventing Defendants from enforcing the Act and protecting minors. It

should be reversed.

                             STANDARD OF REVIEW

      A “preliminary injunction is an extraordinary and drastic remedy” that courts

should not grant “unless the movant, by a clear showing, carries the burden of

persuasion.” Enchant Christmas Light Maze & Market Ltd. v. Glowco, LLC, 958

F.3d 532, 539 (6th Cir. 2020). Though its entry is reviewed for abuse of discretion,

a district court “abuses its discretion” when it “relies on clearly erroneous findings

of fact” or “improperly applies the law.” Performance Unlimited, Inc. v. Questar

Publishers, Inc., 52 F.3d 1373, 1381 (6th Cir. 1995). And, “in a case such as this,

where the district court’s decision was made on the basis of a paper record, without

a[n] evidentiary hearing,” this Court is in “as good a position as the district judge to

determine the propriety of granting a preliminary injunction.”          Id. (quotation

omitted).

                                    ARGUMENT

      As the moving party, Plaintiffs had to establish (1) a likelihood of success on

the merits; (2) a likelihood of suffering irreparable harm without preliminary relief;

(3) a balance of equities tipping in their favor; and (4) that an injunction is in the

public interest. Glowco, 958 F.3d at 535-36. They failed on all four requirements



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(the last two of which merge). And a statewide injunction was, in all events,

overbroad.

I.    Plaintiffs Are Not Likely to Succeed on the Merits.

      Plaintiffs will not prevail on their Fourteenth Amendment claims. The Act is

squarely within the State’s police power “over safety, health, and public welfare.”

In re MCP No. 165, 20 F.4th 264, 273 (6th Cir. 2021) (en banc) (Sutton, J., dissental).

Parents do not have a fundamental right to subject their children to medical

treatments prohibited by state law—especially when those treatments have

significant risks, unproven benefits, and are “medical matters concerning which

there is difference of opinion and dispute.” Collins v. Texas, 223 U.S. 288, 297-98

(1912). The Act equally protects minors of both sexes, and Plaintiffs failed to clear

the high bar for establishing transgender status as a new quasi-suspect class.

Rational-basis review—“the same standard of review as other health and safety

measures”—applies. Dobbs, 142 S.Ct. at 2244-46. The Act satisfies that standard

or any other this Court might apply.

      A.      Parents lack a fundamental right to subject their children to such
              risky treatments.

      The district court subjected the Act to strict scrutiny because it “infringes on

a parent’s” supposed “fundamental right to direct the medical care of that parent’s

child.” Op., R.167, PageID#2670. Dobbs should have laid to rest the idea that

parents can do whatever they want to their children. Rational-basis review applies

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when the State regulates doctors from taking affirmative acts against children, born

or unborn, at their parents’ request. Dobbs, 142 S.Ct. at 2244-46. The Supreme

Court has “been reluctant to expand the concept of due process” and itself

“exercise[s] the utmost care whenever” a litigant asks it to set aside rational-basis

review and instead “to break new ground in” the field of substantive due process.

Collins v. City of Harker Heights, 503 U.S. 115, 125 (1992). Lower courts should

exercise all the more caution.

      The district court ignored this Court’s instruction that, to “validly assert a

substantive due process claim, a petitioner must provide a ‘careful description’ of

the claimed liberty interest.” Clark, 2023 WL 2787325, at *5. That right “must be

‘deeply rooted in this Nation’s history and tradition’ and ‘implicit in the concept of

ordered liberty.’” Dobbs, 142 S.Ct. at 2242 (quoting Glucksberg, 521 U.S. at 721).

Plaintiffs made no effort to prove that parents had a fundamental right in 1868—the

time of the Fourteenth Amendment’s ratification—to subject their children to these

treatments. They conceded there is, at best, “nearly two decades of research”

supporting them. PI Mem., R.33, PageID#433. That should end the discussion.

      “Judicial deference is especially appropriate” here.        Stay Op.9. Start by

considering that Plaintiffs claim an affirmative right to subject their children to

puberty blockers and hormones, not simply a negative right to refuse treatment.

“Although individuals sometimes have a constitutional right to refuse treatment, the



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Supreme Court has not handled affirmative requests for treatment in the same way.”

Id. at 10 (citing Glucksberg, 521 U.S. at 725-26). Accordingly, “most federal courts

have held that a patient does not have a constitutional right to obtain a particular type

of treatment or to obtain treatment from a particular provider if the government has

reasonably prohibited that type of treatment or provider.” U.S. Citizens Ass’n v.

Sebelius, 705 F.3d 588, 599 (6th Cir. 2013) (quoting Mitchell v. Clayton, 995 F.2d

772, 775 (7th Cir. 1993)); see, e.g., Abigail All. for Better Access to Developmental

Drugs v. von Eschenbach, 495 F.3d 695, 711 (D.C. Cir. 2007) (en banc) (no “right

to procure and use experimental drugs”); Raich v. Gonzales, 500 F.3d 850, 864-66

(9th Cir. 2007) (no right to “medical marijuana”); Rutherford v. United States, 616

F.2d 455, 456 (10th Cir. 1980) (no right for mentally ill patients “to take whatever

treatment they wished”); Morrissey v. United States, 871 F.3d 1260, 1269 (11th Cir.

2017) (rejecting fundamental right to IVF surrogacy treatment, not in use “until the

mid to late 1980s”).

      In the wake of the Fourteenth Amendment’s ratification, the Supreme Court

continued to “leave[] the regulation of doctors to the states.”          Ass’n of Am.

Physicians & Surgeons v. U.S. FDA, 13 F.4th 531, 534-35 (6th Cir. 2021) (citing

Dent v. West Virginia, 129 U.S. 114, 121-24 (1889) (explaining how this was a

power of States “from time immemorial”)). “There is perhaps no profession more

properly open to such regulation” because the practice of medicine deals “with the



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lives and health of the people.” Watson v. Maryland, 218 U.S. 173, 176 (1910).

Even faced with a Massachusetts regulation requiring inhabitants to take a smallpox

vaccine, the Supreme Court applied the rough equivalent of rational-basis review

and upheld the law. Norris v. Stanley, 2023 WL 4530251, at *3-5 (6th Cir. July 13)

(applying Jacobson v. Massachusetts, 197 U.S. 11 (1905)).

      That the proscribed treatments are ones where “medical and scientific

uncertainty” exists further weakens Plaintiffs’ assertion of a fundamental right.

Gonzales v. Carhart, 550 U.S. 124, 163 (2007). “Our Nation’s history and traditions

have consistently demonstrated that the democratic branches are better suited to

decide the proper balance between the uncertain risks and benefits of medical

technology, and are entitled to deference in doing so.” von Eschenbach, 495 F.3d at

713. Many of the drugs that were considered cutting edge treatment “for all sorts of

ailments” in the late 1800s—including morphine, opioids, and heroin—are now

strictly regulated or banned by state and federal law. Aaron, Opioid Accountability,

89 Tenn. L. Rev. 611, 617-18 (2022). States need the flexibility to adapt their laws

to new research.

      Tennessee is rightly skeptical of the off-label prescription of drugs for gender

dysphoria because gender dysphoria, a mental disorder, is not remotely similar to

the physical conditions, such as precocious puberty, that pharmaceutical companies

sought and obtained FDA approval for. “Absent state regulation”—such as the



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Act—“once a drug has been approved by the FDA, doctors may prescribe it for

indications and in dosages other than those expressly approved by the FDA.”

Planned Parenthood Cincinnati Region v. Taft, 444 F.3d 502, 505 (6th Cir. 2006).

Pharmaceutical companies have not conducted the rigorous studies necessary to

determine whether puberty blockers and hormones are effective or safe in treating

gender dysphoria. The benefit-risk analysis is not the same.

      Taking a faster and cheaper approach than costly clinical development, and

one more likely to succeed than an actual submission to the FDA, “many of the same

pharmaceutical companies that contributed to the opioid epidemic” partnered with

the Endocrine Society and “paid consulting fees to physicians who then advocate for

administration of drugs” for treatment of gender dysphoria. Tenn. Code Ann.

§68-33-101(i). That business decision is particularly worrisome because, if the

drugs really were effective at treating gender dysphoria, then conducting such

studies and obtaining FDA approval for the treatment of gender dysphoria would

help dispel concerns of European regulators that have restricted their prescription to

gender-dysphoric minors.

      Plaintiffs are mistaken if they believe that FDA approval of a drug for one

indication grants them a constitutional right to it for an unapproved use. That is not

how federal drug approval works.         The “FDA regulates the marketing and

distribution of drugs in the United States, not the practice of medicine, which is the



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exclusive realm of individual states,” regardless of whether the FDA has approved

a drug for one form of treatment. Taft, 444 F.3d at 505. Take one example from the

recent pandemic: The FDA long ago approved hydroxychloroquine for distribution

to treat various conditions, such as malaria, lupus, and arthritis, and initially

“conclude[d] that the drug might help treat” COVID-19. Ass’n of Am. Physicians,

13 F.4th at 535. But this Court ruled States retain authority to regulate their doctors’

prescription of hydroxychloroquine, especially for off-label treatments.         Id. at

534-35. Per this Court, the Fourteenth Amendment did not create an end-run around

the regulation of hydroxychloroquine whenever a parent wants it to treat a child sick

with COVID-19. So too with dangerous puberty blockers and cross-sex hormones

for gender dysphoria, whether they are FDA-approved for something else or not.

      Parents of course decide their children’s treatment when laws do not say

otherwise. But that “does not mean that parents’ control over their children is

without limit.” Kanuszewski v. Mich. Dep’t of Health & Hum. Servs., 927 F.3d 396

419 (6th Cir. 2019). Their “claim is derivative from, and therefore no stronger than,”

the child’s right to treatment. Whalen v. Roe, 429 U.S. 589, 604 (1977); cf. Doe v.

Pub. Health Tr. of Dade Cnty., 696 F.2d 901, 903 (11th Cir. 1983) (A father’s “rights

to make decisions for his daughter can be no greater than his rights to make medical

decisions for himself.”). If anything, the “state’s authority over children’s activities

is broader than over like actions of adults,” not narrower. Prince v. Massachusetts,



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321 U.S. 158, 168 (1944). A “state is not without constitutional control over parental

discretion in dealing with children when their physical or mental health is

jeopardized.” Parham v. J.R., 442 U.S. 584, 603 (1979).

       These parents assert a fundamental right to subject their children to treatments

with lifelong effects, including likely sterilization. But Tennessee has an obligation

to “safeguard[]” children from medical abuses and give them “opportunities for

growth into free and independent well-developed men” and women. Prince, 321

U.S. at 165. Fulfilling that obligation, Tennessee has enacted a wide range of

regulations protecting children from their parents’ decisions. E.g., Tenn. Code Ann.

§39-13-110 (prohibiting female genital mutilation); id. §39-15-213 (prohibiting

elective abortions of unborn children); id. §62-38-211(a) (banning tattooing a minor

even with parental consent); id. §68-34-108 (1971 prohibition of parents surgically

sterilizing minors).

       Some doctors regrettably tend to overindulge parents’ desires or push their

own.    For example, the American Academy of Pediatricians, with Plaintiffs’

“ethicist” expert Dr. Antommaria on the authoring committee, shockingly

encouraged doctors’ participation in female genital mutilation by offering a “ritual

nick” of girls’ clitoral skin in contravention of federal law. AAP Policy Statement,

Ritual Genital Cutting of Female Minors, 125 Pediatrics 1088, 1092 (2010);

18 U.S.C. §116. Thankfully, parents do not have a fundamental right to have doctors



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perform on their child any medical procedure that a medical interest group approves.

Endocrine Society and WPATH documents from the past decade simply do not

“shed light on the meaning of the Constitution.” Dobbs, 142 S.Ct. at 2267 (rejecting

reliance on the positions of medical associations).

      Nineteenth-century Americans detested castration, the surgical analog to the

hormone treatments at issue here. Under common law, castrating a male was a

felony. See Foster v. People, 50 N.Y. 598, 604-06 (1872); Adams v. Barrett, 5 Ga.

404, 412-13 (1848).      Americans found castration so abhorrent that, despite

embracing countless evil acts in promotion of slavery, slave States prohibited

slaveowners from castrating their slaves. E.g., Worley v. State, 30 Tenn. 172, 175-76

(1850); State v. Wilson, 25 S.C.L. 163, 164 (1840). Nothing in the historical record

suggests that Americans in 1868 believed parents had a fundamental right to castrate

their children, surgically or chemically. Plaintiffs did not even try to make such a

showing.

      Instead, Plaintiffs fudge the Glucksberg test and define the contested right “at

a high level of generality,” exactly as the Supreme Court says not to. Dobbs, 142

S.Ct. at 2258. Parents do not have an unfettered “fundamental right to make

decisions concerning the care of their children.” Compl. ¶168, R.1, PageID#38.

Such a broad-sweeping right would stand in direct conflict with the Supreme Court’s

instruction in Dobbs that mere rational-basis review applies to regulation of abortion.



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At a minimum, Plaintiffs’ approach would subject to strict scrutiny the prohibition

of abortions performed on pregnant minors at the behest of their parents. That cannot

be. Cases like Kanuszewski asked whether parents could refuse the drawing and

long-term storage of their children’s blood. 927 F.3d at 408, 418-20. The “right to

refuse unwanted medical treatment” of that sort cannot “be some-how transmuted

into a right to” every sort of medical treatment. Glucksberg, 521 U.S. at 725-26.

That at least one parent consents makes no difference.

      B.     The Act equally protects minors of both sexes.

      The district court ruled that the Act discriminates based on sex, subjecting the

Act to intermediate scrutiny because (1) it “creates a sex-based classification on its

face”; and (2) “discrimination based on transgender status necessarily constitutes

discrimination on the basis of sex.” Op., R.167, PageID#2682, 2685. But sex

discrimination under the Equal Protection Clause means “giv[ing] a mandatory

preference to members of either sex over members of the other.” Reed v. Reed, 404

U.S. 71, 76 (1971); accord United States v. Virginia, 518 U.S. 515, 541-42 (1996)

(applying heightened scrutiny to such sex-based preferences).

      The Act’s prohibitions apply equally to both sexes, with no preference for

members of one sex over members of the other. The Act does not “[p]rescrib[e] one

rule for” girls, “another for” boys. Sessions v. Morales-Santana, 582 U.S. 47, 58

(2017). A physician cannot administer a hormone or puberty blocker to a child of



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either sex “for the purpose of” (1) “enabling a minor to identify with, or live as, a

purported identity inconsistent with the minors’ sex,” or (2) “treating purported

discomfort or distress from a discordance between the minor’s sex and asserted

identity.” Tenn. Code Ann. §68-33-103(a)(1). These prohibitions are sex-neutral.

      A State’s medical regulation “is not a sex-based classification and is thus not

subject to the heightened scrutiny that applies to such classifications” by mentioning

sex. Dobbs, 142 S.Ct. at 2245 (citing Geduldig, 417 U.S. at 496). The district court

tried to distinguish Dobbs by positing that “laws regulating pregnancy generally do

not make explicit sex-based classifications.”      Op., R.167, PageID#2683.       But

abortion laws almost always mention sex. See, e.g., Dobbs, 142 S.Ct. at 2243 &

n.14 (Miss. Code Ann. §41-41-191 calculates gestational age “from the first day of

the last menstrual period of the pregnant woman”); Tenn. Code Ann. §39-15-213

(repeatedly using “woman” and “female”). That this Act applies to procedures both

sexes can undergo puts it on even sounder footing.

      The district court was also wrong to extend Bostock v. Clayton County’s Title

VII reasoning to the Equal Protection Clause. Bostock expressly did “not prejudge”

the meaning of other laws governing sex discrimination. 140 S.Ct. 1731, 1753

(2020). Heeding that warning, this Court has ruled “it does not follow that principles

announced in the Title VII context automatically apply in the Title IX context.”

Meriwether v. Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021). Bostock does not even



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apply to other antidiscrimination laws with the “because of” language central to

Bostock’s reasoning. Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir.

2021). Bostock is “limited only to Title VII itself.” Id.; see Stay Op.13.

      Indeed, the morning after the district court declared that Bostock’s

hiring-and-firing “rationale is applicable to Plaintiffs’ equal protection claim,” Op.,

R.167, PageID#2685, Bostock’s author called such a move “implausible on its face,”

Students for Fair Admissions, Inc. v. President & Fellows of Harv. Coll., 143 S.Ct.

2141, 2220 (2023) (Gorsuch, J., concurring). Title VII, “enacted at the same time

by the same Congress” as Title VI, id. at 2216, goes “beyond the Equal Protection

Clause,” id. at 2221.

      The Equal Protection Clause uses different words and “predates Title VII by

nearly a century, so there is reason to be skeptical that its protections reach so far.”

Brandt v. Rutledge, 2022 WL 16957734, at *1 n.1 (8th Cir. Nov. 16) (en banc) (Stras,

J., joined by Gruender, Erickson, Grasz, Kobes, JJ., dissental). “Between 1848 and

1900,” laws against cross-dressing “were a central component of urban life.” Sears,

Arresting Dress 3-4 (2013). And castrating a male was a felony under the common

law. See Foster, 50 N.Y. at 604-06; Adams, 5 Ga. at 412-13. The original public

meaning of the Fourteenth Amendment cannot possibly protect a constitutional right

to take these drugs or give them to one’s children for treatment of gender dysphoria.

      Plaintiffs’ stay response resurrected an argument from below that not even the



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district court adopted. Stay Resp.4-5. Channeling Smith v. City of Salem, Plaintiffs

assert that Tennessee is discriminating based on a person’s “fail[ure] to act and/or

identify with his or her” sex—what Smith called “sex stereotyping”—by propagating

a stereotype that males and females are different. 378 F.3d 566, 574-75 (6th Cir.

2004). This Court has not applied this stereotyping idea to medicine, and for good

reason. Sex stereotypes concern whether someone “wear[s] dresses or makeup,” not

whether someone’s body is male or female. Id. at 574.

      Recognizing physical differences between the sexes “is not a stereotype.”

Nguyen v. INS, 533 U.S. 53, 68 (2001). Those differences are “enduring.” Virginia,

518 U.S. at 533. They define sex itself. At the Fourteenth Amendment’s ratification,

“sex” meant the “physical difference between male and female.” Webster, An

American Dictionary of the English Language (1865). A female is an “individual

of the sex among animals which conceives and brings forth young,” while a male is

of the “sex that begets or procreates young, as distinguished from the female.” Id.;

see also Worcester, A Dictionary of the English Language (1860) (providing similar

definitions for female, male, and sex). Such biologically focused definitions remain

the common understanding of those terms today. See, e.g., The American Heritage

Dictionary of the English Language (5th ed. 2022 online update) (defining “sex” as

“[e]ither of the two divisions, designated female and male, by which most organisms

are classified on the basis of their reproductive organs and functions”).



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      In 1868, the term “gender identity” did not exist. Americans understood

“gender,” when used outside of a grammatical context, as a synonym for “sex.” See,

e.g., Webster, An American Dictionary of the English Language (1865) (defining

the noun “gender” as “Sex, male or female”); Worcester, A Dictionary of the English

Language (1860) (same). Although nowadays “[s]ome people maintain that the

word sex should be reserved for reference to the biological aspects of being male or

female or to sexual activity, and that the word gender should be used only to refer

to sociocultural roles,” the most common nongrammatical definition of gender

remains synonymous with (biological) sex. The American Heritage Dictionary of

the English Language (5th ed. 2022 online update) (“sex” as gender’s primary

nongrammatical definition); cf. Tenn. Code Ann. §49-6-310(a) (defining “gender for

purposes of participation in a public middle school or high school interscholastic

athletic activity or event” as “the student’s sex at the time of the student’s birth”).

      That definitional equivalence is why, when the Supreme Court began

subjecting sex-based classifications to heightened scrutiny, it treated “sex” and

“gender” as synonymous. See, e.g., Craig v. Boren, 429 U.S. 190, 202-04 (1976);

Miss. Univ. for Women v. Hogan, 458 U.S. 718, 728-31 (1982). There are “distinct

differences in physical characteristics and capabilities between the sexes.” Cape v.

TSSAA, 563 F.2d 793, 796 (6th Cir. 1977). No amount of puberty blockers,

hormones, or surgeries will ever transform a male into a female. It is biologically



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impossible. And neither Tennessee nor any other State has to mouth scientific

falsehoods just because activists repeat them like a mantra.

      The district court wrongly embraced the fallacy that a procedure provided to

one sex to treat gender dysphoria is always “the same procedure” when provided to

the other or when provided to treat physical disorders. Op., R.167, PageID#2683.

Both sexes use the same puberty blockers, so prohibiting them for treatment of

gender dysphoria does not even consider sex. The benefit-risk calculation of giving

puberty blockers to minors for treatment of gender dysphoria is not the same as

giving them to treat precocious puberty. Giving puberty blockers to a 12-year-old

with healthy pituitary glands and sex organs causes the diseased state of

hypogonadotropic hypogonadism; giving those same drugs to a 4-year-old

undergoing precocious puberty is not the same treatment because doing so restores

normal sex-gland functioning. Laidlaw Decl., R.113-7, PageID#1558-66.

      Plaintiffs similarly err in assuming that administering cross-sex hormones to

physically healthy children is the same as surgically treating a congenital defect or

providing hormones to children with physical disorders of sex development. Stay

Resp.5. Boys and girls are physically distinct. For normal pubertal development,

boys need higher testosterone than girls. Giving testosterone to a 15-year-old boy

to rectify his testosterone deficiency is much different from giving a physically

healthy girl such high doses that her testosterone levels match a healthy boy, creating



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in girls the diseased state of hyperandrogenism.             Laidlaw Decl., R.113-7,

PageID#1568-74. Conversely, giving excess estrogen to physically healthy boys

creates the diseased state of hyperestrogenemia.          Id. PageID#1575-76.     The

benefit-risk assessments are again different.

      Providing appropriate treatment to each sex is not sex discrimination.

Plaintiffs’ logic means it would be sex discrimination for Tennessee to prohibit

implanting fertilized eggs within men based on the “stereotype” that only women

have wombs and can become pregnant.             The federal ban on “female genital

mutilation” of minors would also qualify as sex discrimination. 18 U.S.C. §116.

Under Plaintiffs’ living Constitution, if parents sign off on castrating a son so that

he can sing with an unnaturally high vocal range as an adult, Tennessee would be

powerless to stop it—especially if the boy asserts the WPATH-approved gender

identity of “eunuch.” WPATH Standards, R.113-9, PageID#1824-28 (“Chapter

9-Eunuchs”); cf. Whipping & Castration as Punishments for Crime, 8 Yale L.J. 371,

382 (1899) (citing the existence of castrati in the 1800s in Italy, not in the United

States, to justify eugenic sterilization). The Fourteenth Amendment did not smuggle

such a broad understanding of sex discrimination under the words “equal protection

of the laws.”




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         C.     Transgender individuals are not a quasi-suspect class.

         Plaintiffs could not establish a clear right to relief because “neither the

Supreme Court nor this court has recognized transgender status as a quasi-suspect

class.”       Stay Op.12.      “Until that changes, rational basis review applies to

transgender-based classifications.” Id. That result is consistent with Ondo’s holding

that gay persons are not in a quasi-suspect class. Ondo, 795 F.3d at 609. Unlike

“race or biological gender,” sexual orientation is not “definitively ascertainable at

the moment of birth.” Id. Same if not more so for transgender status. Laidlaw Decl.

¶¶16-18, R.113-7, PageID#1549.

         The district court “querie[d] whether the Sixth Circuit’s reasoning in Ondo

rests on solid grounds” and rejected it in a footnote. Op., R.167, PageID#2677.

Charitably, the district court got ahead of itself in implicitly overruling Ondo. Even

if Ondo were not binding, Plaintiffs completely failed to engage with the other

requirements for a quasi-suspect class. Cf. City of Cleburne v. Cleburne Living Ctr.,

473 U.S. 432, 442-47 (1985). Some courts have rightly expressed “grave ‘doubt’

that transgender persons constitute a quasi-suspect class” under City of Cleburne.

Adams v. Sch. Bd. of St. Johns Cnty., 57 F.4th 791, 803 n.5 (11th Cir. 2022) (en

banc).

         On a record even the district court acknowledged was “not fulsome,” it simply

borrowed the rulings of nonprecedential opinions to find transgender individuals



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have historically been subject to discrimination. Op., R.167, PageID#2679. The

district court then ruled that transgender individuals can equally contribute to

society, defining the class at a higher level of generality than individuals suffering

from gender dysphoria.        Id. PageID#2686.      Finally, the district court ruled

transgender individuals lack political power even if they have “a substantial voice in

the media, substantial support in the non-profit and public-interest sector, and the

support of a substantial number of elected representatives or executive-branch

officials.”    Id. PageID#2680.   They even have the full resources of the U.S.

government, which intervened in Plaintiffs’ favor. If Plaintiffs had bothered to

engage with the City of Cleburne requirements instead of summarily citing three

nonprecedential decisions, see PI Mem., R.33, PageID#428, Tennessee would have

explained even further how Plaintiffs failed to satisfy the “high” bar “for recognizing

a new quasi-suspect class,” Stay Op.12.

       For example, as Tennessee argued below in response to the United States’

preliminary-injunction motion, see U.S. PI. Opp., R.135, PageID#2310-11, the

actions of the Biden Administration are inconsistent with Plaintiffs’ contention that

transgender individuals “are politically powerless.” City of Cleburne, 473 U.S. at

445. From his first day in office, President Biden has prioritized “Preventing and

Combating Discrimination on the Basis of Gender Identity.” Exec. Order No.

13,988, 86 Fed. Reg. 7,023 (Jan. 20, 2021). His agencies have attempted to impose



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new gender-identity obligations on the States. See, e.g., Tennessee v. Dep’t of Educ.,

615 F. Supp. 3d 807, 838-39 (E.D. Tenn. 2022) (rejecting agency attempts to “go[]

beyond the holding of Bostock”), appeal argued No. 22-5807 (6th Cir. Apr. 26,

2023). President Biden has “appointed a record number of openly LGBTQI+

leaders,” including a Senate-confirmed transgender admiral2 and a nonbinary

Deputy Assistant Secretary for the Office of Nuclear Energy.3 White House, A

Proclamation on Transgender Day of Visibility (Mar. 30, 2023), perma.cc/VZN6-

4ATC. Just three days after a transgender individual murdered six Tennesseans at

The Covenant School, President Biden lamented an “epidemic of violence against

transgender” individuals. Id.

      The mere fact that a group constitutes a minority of officeholders or of the

nation’s total population does not mean it is politically powerless. In many States,

transgender and gender-dysphoric individuals have flexed their political muscle and

convinced legislatures to take the unprecedented step of prohibiting recognition of

child custody orders when a custodial parent does not want these treatments

performed on a gender-dysphoric child. See Stay Op.6-7 (citing Cal. Penal Code

§819 and Minn. Stat. §260.925 as two such examples). The district court was wrong



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  U.S. Dep’t of Health & Hum. Servs., Admiral Rachel Levine (Oct. 31, 2022),
perma.cc/ET5Z-GHFK.
3
  Sands et al., Top Energy Department official no longer employed after luggage
theft accusations, CNN (Dec. 13, 2022), perma.cc/MJF7-5JPL.

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to recognize transgender individuals as a new quasi-suspect class, especially on such

a flimsy record. That immodest decision granted one side of the political debate a

judicial veto the Fourteenth Amendment never contemplated.

       Even assuming transgender individuals qualify as a quasi-suspect class, the

district court erred again by ruling that the Act discriminates based on transgender

status. Op., R.167, PageID#2686. Everyone agrees not all transgender individuals

use puberty blockers or hormones “to identify with, or live as, a purported identity

inconsistent with [their] sex” or to “[t]reat[] purported discomfort or distress from a

discordance between” sex and identity.           Tenn. Code Ann. §68-33-103(a)(1).

Transgender minors are in “both” the group of individuals not receiving such

treatments and the group receiving such treatments. Adams, 57 F.4th at 809.

       Non-transgender individuals also receive the treatments, as was obvious to the

legislature in separately prohibiting such treatment for gender dysphoria even when

it is not “to identify with, or live as, a purported identity inconsistent with the minor’s

sex.” Tenn. Code Ann. §68-33-103(a)(1). For example, a girl who has a strong

desire to have the chest of a boy and thinks she has the typical feelings and reactions

of boys could be diagnosed with gender dysphoria under the relevant diagnostic

protocols. See Nangia Decl. ¶13, R.113-8, PageID#1634-35. The Endocrine Society

Guidelines would then allow the administration of puberty blockers to “giv[e] the

subject more time to explore options.” ES Guidelines, R.113-10, PageID#2007.



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Accordingly, there is a “lack of identity” between transgender status and the

prohibited treatments. Geduldig, 417 U.S. at 496 n.20; see id. (finding no sex

discrimination because, though everyone pregnant is a woman, “members of both

sexes” are in the nonpregnant group).

      Even if there were “uneven effects upon particular groups within a class,” that

does not violate the Fourteenth Amendment. Pers. Adm’r of Mass. v. Feeney, 442

U.S. 256, 272 (1979). Even circuits that have taken a more expansive approach to

Bostock agree that “discriminatory impact alone does not suffice.                The

discrimination must be intentional.” Resendiz v. Exxon Mobil Corp., 2023 WL

4410524, at *6 (4th Cir. July 10). After scouring the legislative record, Plaintiffs

could not identify “malice or hostile animus,” insisting instead that the General

Assembly displayed too much “insensitivity,” PI Mem., R.33, PageID#435 (quoting

Bd. of Trs. of Univ. of Ala. v. Garrett, 531 U.S. 356, 374 (2001) (Kennedy, J.,

concurring)). But there is no Insensitivity Clause in the Constitution. The Supreme

Court “has long disfavored arguments based on alleged legislative motives” and

requires “invidiously discriminatory animus.” Dobbs, 142 S.Ct. at 2246, 2255. In

any event, the General Assembly was trying “to protect the health and welfare of”

all “minors” from specific treatments where it thought the risks outweighed the

benefits. Tenn. Code Ann. §68-33-101(a). The legislature, acting with a tremendous

depth of concern for all children in Tennessee, displayed no animus toward either



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sex or toward transgender individuals.

      D.     The Act survives any level of review.

      The Act, “like other health and welfare laws, is entitled to a strong

presumption of validity.” Dobbs, 142 S.Ct. at 2284. “It must be sustained if there

is a rational basis on which the legislature could have thought that it would serve

legitimate state interests.” Id. Under this “highly deferential” standard, courts “may

not second-guess a state’s medical and scientific judgments,” and the State’s

rationales are not “subject to courtroom fact-finding.” Bristol Reg’l Women’s Ctr.,

P.C. v. Slatery, 7 F.4th 478, 483 (6th Cir. 2021) (en banc). Judicial deference is

especially appropriate where—as here—“medical and scientific uncertainty” exists.

Carhart, 550 U.S. at 163.

      The Act easily satisfies rational-basis review. This Court correctly observed

that Tennessee “plainly has authority, in truth a responsibility, to look after the health

and safety of its children,” particularly in this “area of unfolding medical and policy

debate.” Stay Op.11. “Tennessee could rationally take the side of caution before

permitting irreversible medical treatments of its children.” Id. The district court

wrongly “departed from the normal rule that courts defer to the judgments of

legislatures,” especially “in areas fraught with medical and scientific uncertainties.”

Dobbs, 142 S.Ct. at 2268.

      But even if the strictest scrutiny applied, the Act would still pass constitutional



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muster. Cf. Williams-Yulee v. Florida Bar, 575 U.S. 433, 444 (2015) (dispelling the

notion that strict scrutiny is “fatal in fact”). Tennessee has a compelling interest in

protecting minors from unproven treatments with permanent negative consequences.

A “prohibition on” these treatments for minors was “the least restrictive way to

further” Tennessee’s “compelling interest in preventing” these identified harms.

Preterm-Cleveland v. McCloud, 994 F.3d 512, 548 (6th Cir. 2021) (en banc) (Bush,

J., concurring). By necessity, then, the Act also survives intermediate scrutiny. See

Virginia, 518 U.S. at 533.

      As discussed above, Tennessee submitted declarations from experts in various

fields describing the life-altering harms of these experimental treatments and the

lack of quality evidence regarding their long-term safety and efficacy. Expert

Decls., R.113-3–113-8, PageID#1089-1733. Tennessee also produced testimony

from detransitioners lamenting the physical and psychological consequences of

these treatments; parents voicing concern over healthcare providers pressuring them

to approve such treatment; and a whistleblower revealing that pediatric clinics often

fail to follow even the lax “standards of care” endorsed by American

medical-interest groups. Decls., R.113-11–113-20, PageID#2031-91.

      The district court improperly second-guessed the legislature’s judgments,

discounting several of Tennessee’s experts and ignoring others.          It found the

testimony of Dr. Hruz (a pediatric endocrinologist and professor at Washington



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University School of Medicine) and Dr. Cantor (a clinical psychologist and

neuroscientist with expertise in the assessment of scientific studies) “minimally

persuasive” because they shy away from treating minors’ gender dysphoria, a field

dominated by the very American medical establishment that they testified against.

Op., R.167, PageID#2690-91. The district court further cast aside declarations from

Dr. Levine (who chaired the 1998 WPATH Standards committee) and Dr. Laidlaw

(another board-certified endocrinologist) because they have not “administered the

medical procedures banned by” the Act. Id. PageID#2691. Respectfully, that

reasoning is nonsensical. It is the same as saying the only doctors who can opine on

the harms of lethal injection are those who perform such executions without

hesitation.

      The district court ignored declarations from Dr. Nangia (a child and

adolescent psychiatrist who has seen hundreds of patients with active gender

dysphoria or a history of the same) and Dr. Román (a Swedish child and adolescent

psychiatrist with first-hand knowledge of the developments in Europe). It failed to

consider Dr. Nangia’s testimony that, due to minors’ lack of maturation, most of

them cannot comprehend and appreciate the long-term risks of medical transition or

the low-quality data underlying WPATH and Endocrine Society documents. Nangia

Decl. ¶¶154-58, R.113-8, PageID#1709-11. The lower court also failed to grapple

with Dr. Román’s explanation of how European doctors who previously treated



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gender-dysphoric minors with hormonal treatment now deeply disagree with the

American medical establishment and have taken steps to essentially ban these

treatments in gender-dysphoric youth. Román Decl. ¶¶2,14-21,33-38, R.113-6,

PageID#1517-31.

      The district court also ignored how Vanderbilt doctors describe the flaws of

their practice. The founder of Vanderbilt’s Transgender Health Clinic admitted that

they “haven’t been doing this particularly long enough to know the long-term effects

of hormone replacement therapy, and this is particularly true in our pediatric

population.” Ex.1-G, R.113-1, PageID#1048 (video at 38:08-38:20 (Dr. Taylor

speaking)). She “had no fellowship training in this. Everything I have learned, I

have learned from my patients, and I’ve learned from the Internet.” Id. 44:30-44:36.

In a “primer” on transgender medicine, Dr. Taylor explained there is “[n]o real

consensus” about estradiol levels for boys identifying as girls. Ex.1-F, R.113-1,

PageID#1029. Her own practice is “still figuring it out!” Id. The title of two of Dr.

Taylor’s presentations perhaps sums it up best: “Caring for the Transgender Patient:

With little evidence, but a lot of love.” Ex.1-H, R.113-1, PageID#1060.

      The district court failed to acknowledge the admitted shortcomings of the

2017 Endocrine Society Guidelines and 2022 WPATH Standards. “The Endocrine

Society makes no warranty, express or implied, regarding the guidelines,” “nor do

they establish a standard of care.” ES Guidelines, R.113-10, PageID#2022. They



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do, however, admit puberty blockers likely lead to “adverse effects on bone

mineralization” and “compromised fertility if the person subsequently is treated with

sex hormones.” Id. PageID#2009.

      Meanwhile, WPATH now admits that it is an “advocacy organization[],” Boe

v. Marshall, No. 2:22-cv-184-LCB, Doc.208, at 3 (M.D. Ala. Dec. 27, 2022), and

has opposed efforts to discover the bases for its “standards,” id., Doc.263. Because

WPATH is an advocacy organization, not a neutral scientific body, the First and

Fifth Circuits and, until recently, the U.S. Department of Health and Human Services

have found that “the WPATH Standards of Care reflect not consensus, but merely

one side in a sharply contested medical debate.” Gibson v. Collier, 920 F.3d 212,

221 (5th Cir. 2019); see also Kosilek v. Spencer, 774 F.3d 63, 68-96 (1st Cir. 2014)

(en banc); Nondiscrimination in Health & Health Educ. Programs or Activities,

Delegation of Authority, 85 Fed. Reg. 37160, 37198 (June 19, 2020) (warning of

“rel[ying] excessively on the conclusions of an advocacy group (WPATH) rather

than on independent scientific fact-finding”). WPATH admits it has only “limited

data” on the safety of hormonal treatments and most surgeries for minors, yet it has

opted not to set any minimum age for treatments other than phalloplasty. WPATH,

R.113-9, PageID#1801-02.

      Plaintiffs failed to present evidence clearly showing that these issues are

beyond the realm of medical and scientific uncertainty, let alone state police power.



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The Act’s approach of postponing treatment until adulthood is far better tailored than

WPATH’s unbounded approach. Although some European countries allow these

procedures on minors in controlled research settings, the Fourteenth Amendment

does not require research exceptions (and Plaintiffs don’t ask for one). The General

Assembly rationally decided to prohibit certain treatments and await the results of

research studies underway in other States and countries. Plaintiffs have not alleged

research trials are ongoing in Tennessee, and “facial attacks are not the proper

procedure for challenging the lack of a” research “exception.” Preterm-Cleveland,

994 F.3d at 529 (majority).

II.   Plaintiffs Failed to Demonstrate Standing Sufficient to Seek a
      Preliminary Injunction Even for Themselves.

      The Court asked the parties to brief whether Appellees have standing and

whether sufficient discovery has been taken on that point. Order, Doc.45, at 2.

Plaintiffs failed to demonstrate a substantial likelihood that the preliminary

injunction would redress their alleged irreparable harms. Because that was their

burden to establish before the district court granted the preliminary injunction, and

because Vanderbilt confirmed Tennessee’s arguments by refusing to reinitiate care

when the preliminary injunction was in place, no further discovery is necessary to

reverse the district court. Plaintiffs had failed to show a substantial likelihood of

standing sufficient for the injunction.

      “Where, as here, a party seeks a preliminary injunction on the basis of a

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potential constitutional violation, the likelihood of success on the merits often will

be the determinative factor.” Waskul v. Washtenaw Cnty. Cmty. Mental Health, 900

F.3d 250, 256 n.4 (6th Cir. 2018) (quotation omitted). But, in “this context, the

‘merits’ on which [P]laintiff[s] must show a likelihood of success encompass not

only substantive theories but also establishment of jurisdiction and standing.” Id.;

see also Hearring v. Sliwowski, 806 F.3d 864, 867-68 (6th Cir. 2015) (addressing

lack of constitutional violation before addressing lack of standing sufficient to seek

the injunction). A Plaintiff “who fails to show a ‘substantial likelihood’ of standing

is not entitled to a preliminary injunction.” Waskul, 900 F.3d at 256 n.4 (quotation

omitted). At a minimum, vacatur is required.4

      As Tennessee has maintained throughout this litigation, Plaintiffs lack

standing sufficient to seek a preliminary injunction even for themselves. Their

theory was that the challenged provisions in the Act would cause Vanderbilt to

quickly end their current treatments “beginning in July of 2023.” PI Mem., R.33,

PageID#424-26. But to get interim relief, Plaintiffs needed to prove both that the

challenged provisions in the Act were causing Plaintiffs’ purported irreparable harm

and that “the requested injunctive relief will prevent or terminate that” harm. Ohio



4
 In light of the district court’s rewriting of Fourteenth Amendment caselaw, and
because this argument is also a merits issue at this stage, this Court should rule in
Tennessee’s favor for this reason while still addressing the validity of the
constitutional rulings. Hearring, 806 F.3d at 867-68.

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v. Yellen, 539 F. Supp. 3d 802, 821 (S.D. Ohio 2021). Plaintiffs failed to carry their

burden of establishing that the preliminary injunction of Defendants’ enforcement

would stop Vanderbilt from exiting the market of providing hormones and puberty

blockers to gender-dysphoric minors.

      While the district court relied on a Vanderbilt administrator’s declaration, the

administrator discussed what Vanderbilt would do if “enforcement of the Act’s

provisions prohibiting Hormone Therapy” were enjoined. Pinson Decl.¶9, R.113-1,

PageID#1067. But the Act’s provisions were not all enjoined: Plaintiffs did not (and

could not) challenge the private right of action in §105. That provision prohibiting

the administration of hormones remained enforceable in state court, where federal

courts’ opinions are not binding. Arizonans for Official English v. Arizona, 520 U.S.

43, 66 n.21 (1997).     The district court also ignored the treating physician’s

declaration admitting she will not treat Plaintiffs because “many are already seeking

care out of state” and because she fears “punitive consequences” from “non-medical

third parties.” Brady Decl.¶¶9-10, R.113-1, PageID#1070-71. Because Vanderbilt

“never attributed its actions to any enforcement or threatened enforcement by the

Attorney General” or other Defendants of the challenged provisions in particular,

“the injury isn’t traceable to the” Defendants. A&R Engineering & Testing, Inc. v.

Scott, 2023 WL 4417252, at *3 (5th Cir. July 10). The district court was wrong to

“presume either to control or to predict” the “independent choices” of Vanderbilt.



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Id. (quotation omitted).

      The district court further erred by denying Tennessee an evidentiary hearing

on what Vanderbilt planned to do and why. In this circuit, an evidentiary hearing is

“required when there are disputed factual issues.”        Certified Restoration Dry

Cleaning Network, LLC v. Tenke Corp., 511 F.3d 535, 552 (6th Cir. 2007). District

courts cannot grant a preliminary injunction based solely on the “written evidence”

unless “receiving further evidence would be manifestly pointless.” Farnsworth v.

Nationstar Mortg., LLC, 569 F. App’x 421, 427 (6th Cir. 2014) (quoting Wright &

Miller). That tough standard is not met when, for example, material factual disputes

turn on “credibility determinations.” Certified Restoration, 511 F.3d at 553.

      Tennessee repeatedly requested an evidentiary hearing. See PI Opp., R.112,

PageID#948; Transcript, R.125, PageID#2243-44, 2248.                 It subpoenaed

Vanderbilt’s witnesses to come and testify. And the district court initially agreed to

set an evidentiary hearing on whether “relevant treatment would or would not be

available for Plaintiffs at Vanderbilt University Medical Center during the pendency

of a preliminary injunction.” Order, R.122, PageID#2206. The district court

canceled the planned hearing without explanation. Order, R.148, PageID#2534.

      Far from “manifestly pointless,” Farnsworth, 569 F. App’x at 427, an

evidentiary hearing would have let Tennessee test Vanderbilt’s credibility and

explore obvious gaps and contradictions in its employees’ ambiguous declarations.



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Plaintiffs put all their eggs in the Vanderbilt basket: They never submitted evidence

about the minors obtaining care from any other provider in the State. Vanderbilt

was the only in-state provider that administered them the prohibited treatments.

Compl., R.1, PageID#25-31.

      Refusing to admit that their speculation about Vanderbilt was wrong,

Plaintiffs then told this Court on July 6 that “Defendants misleadingly assert . . . that

Plaintiffs’ physician might not resume treatment” after the preliminary injunction

issued, even though at least one Plaintiff was in possession of information since

June 30 confirming Defendants were right.            Stay Resp.25-26.       Vanderbilt’s

persistent refusal to reenter the market confirms what Tennessee argued all along:

A preliminary injunction will not redress the minor Plaintiffs’ purported harms

because the Act’s challenged provisions are not causing those harms.5

      The district court also erred in giving Dr. Lacy the benefit of the preliminary

injunction when it had not found she had standing. She lacks third-party standing to

assert the equal-protection rights of her patients or prospective plaintiffs.

“[P]roviders have no constitutional rights of their own in this setting.” Planned



5
   Whether the United States has standing to seek a preliminary injunction is
irrelevant for Plaintiffs’ separate preliminary-injunction motion—the only one under
consideration here. Tennessee will address Intervenor’s standing further if the other
side argues otherwise. Moreover, the United States lacks its own cause of action.
Because the intervention statute limits it to “the same relief as if it had instituted the
action,” 42 U.S.C. §2000h-2, Intervenor cannot independently receive any relief.

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Parenthood of Greater Ohio v. Hodges, 917 F.3d 908, 914 (6th Cir. 2019) (en banc).

Even if minors had a right to the prohibited treatments, or if parents had a right to

choose them, Dr. Lacy has no “constitutional right” to provide them. Id. So, she

must prove third-party standing. Yet there is no “hindrance” to Dr. Lacy’s current

patients seeking a preliminary injunction to protect their own interests, as her

co-Plaintiffs have done here and as minors and their parents have done around the

country. Kowalski v. Tesmer, 543 U.S. 125, 129 (2004). She also lacks any

“relationship” with minors who are not yet her patients, let alone a “close” one. Id.

(concluding attorneys lacked third-party standing for potential future clients).

III.   Tennessee Wins the Balance of Equities and Public Interest.

       The final preliminary injunction factors—namely, the balance of equities and

the public interest—merge in this case because Defendants are government officials.

Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023). Each day the preliminary

injunction is in place is another day the well-being of Tennessee children is at risk.

Tennessee understands that Plaintiffs disagree about how best to treat

gender-dysphoric minors. But, as this Court has observed, Tennessee’s “elected

representatives made these precise cost-benefit decisions” in enacting the law. Stay

Op.14.

       The preliminary injunction irreparably harms Tennessee every day it is in

effect by preventing the State “from effectuating statutes enacted by representatives



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of its people.” Thompson v. DeWine, 976 F.3d 610, 619 (6th Cir. 2020) (quoting

Maryland v. King, 567 U.S. 1301, 1303 (2012)). The preliminary injunction, by

design, stops Defendants from “further[ing] the public-health considerations

undergirding the law” and forces them to sit motionless as healthcare providers

impose “irreversible health risks” on Tennessee children. Stay Op.14.

      Consistent with the General Assembly’s findings, Tennessee’s experts have

observed that children experiencing gender dysphoria cannot comprehend the

long-term risks of medical transition and that, for most, their dysphoria naturally

desists by adulthood. Hruz Decl. ¶62, R.113-4, PageID#1305-06; Levine Decl.

¶¶93,105-118, R.113-5, PageID#1430,1434-37; Nangia Decl. ¶154, R.113-8,

PageID#1709. The combination of puberty blockers and cross-sex hormones will

likely sterilize children, among many other long-term risks. Cantor Decl. ¶¶205-25,

R.113-3, PageID#1184-90; Hruz Decl. ¶¶88-92, R.113-4, PageID#1319-21; Levine

Decl. ¶¶121, 127, 178, 189-95, R.113-5, PageID#1438, 1440-41, 1456, 1460-63;

Román Decl. ¶39, R.113-6, PageID#1532; Laidlaw Decl. ¶¶19, 135-139, 152-156,

R.113-7, PageID#1549, 1572-73, 1576-77. Delayed justice through private suits

cannot reverse the chemical sterilization of minors or restore their lost adolescence.

      The district court’s decision to authorize statewide relief was especially

indefensible, as every member of the panel acknowledged. Plaintiffs failed to submit

specific evidence regarding individuals other than themselves.           Meanwhile,



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Tennessee presented substantial evidence from detransitioners who regret their

treatment decisions and parents concerned about providers’ coercive methods to

obtain consent. Decls., R.113-11–113-19, PageID#2031-78. Similarly situated

minors and parents in Tennessee deserve the utmost protection their elected

representatives have provided.

      These treatments risk harm to Plaintiffs too, though the Act’s continuing-care

compromise lets them continue current treatments until March 31, 2024. Tenn. Code

Ann. §68-33-103(b)(1). Plaintiffs have offered no evidence that they want different

types of procedures. Id. §68-33-103(b)(4). No plausible reading of the Act requires

Plaintiffs to “titrate down” from now until March. And the only evidence about

titration was that Plaintiffs could titrate off in, at most, 8-weeks’ time. Sealed

Laidlaw Decl. ¶¶257, 287, 298, R.115, PageID#2155, 2161, 2163. That Vanderbilt

has already ceased care and will not restart treatment even while a preliminary

injunction is in place—as Plaintiffs knew during the pendency of the stay briefing—

favors Tennessee, not Plaintiffs. Whatever is driving Vanderbilt’s choice, it is not

provisions of the Act that Defendants were preliminarily enjoined from enforcing.

      Tennessee appreciates this Court staying the preliminary injunction after only

a week. During that short time, at least one clinic in Tennessee—not Vanderbilt—

appears to have continued offering prohibited treatments to new patients, in violation

of the Act. Mot. at 21 n.2 (identifying CHOICES in Memphis, which serves minors



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who are at least 16-years-old). This Court should continue to allow Defendants to

enforce the democratic choices of Tennessee’s General Assembly.

IV.   The District Court Could Not Enjoin Enforcement Statewide.

      Though the district court found only three minor Plaintiffs (and apparently

their parents) have standing, it prohibited “Tennessee from enforcing the law against

the nine challengers in this case and against the other seven million residents of the

Volunteer State.” Stay Op.5. The district court’s opinion repeatedly relied on Doe

v. Ladapo, a decision so extreme it equated Florida with “Iran or other similarly

repressive regimes.” 2023 WL 3833848, at *14 (N.D. Fla. June 6). (Ironically, Iran

is a hub for sex-reassignment surgery. Resp. to Supplemental Authority, R.156,

PageID#2603-04.) Yet even Ladapo granted a preliminary injunction limited to the

three minor plaintiffs, their parents, and their healthcare providers. 2023 WL

3833848, at *17. The district court here disagreed because “it is far-fetched that

healthcare providers in Tennessee would continue care specifically for Minor

Plaintiffs when they cannot do so for any other individual”—ignoring that the Act

allows treatment of gender-dysphoric adults to continue at Vanderbilt and

elsewhere—and because the Act “is most likely unconstitutional on its face.” Op.,

R.167, PageID#2719.

      A statewide injunction is not “necessary” here, as every member of the panel

agreed. Stay Op.4-6; id. at 17 (White, J., concurring in part and dissenting in part)



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(“I agree that the district court abused its discretion in granting a statewide

preliminary injunction.”). Plaintiffs submitted no evidence that providers will not

treat Plaintiffs unless they can also treat all other minors. Such a theory rests on the

district court’s “pure speculation” about the economics of medicine and neglects that

the minor Plaintiffs’ physician still works at Vanderbilt treating adults. Kentucky,

57 F.4th at 557. Even by the district court’s logic, the preliminary injunction was

unnecessary for every other provider in the state not treating the minor patients. The

injunction is “more burdensome to” Tennessee “than necessary to provide complete

relief to the plaintiffs.” Id.

       That Plaintiffs brought a “facial” challenge to the Act changes nothing.

Plaintiffs are not entitled to a statewide injunction if they succeed on a facial

challenge. That logic gets things backwards. The district court should have rejected

their facial challenge if as-applied relief would redress their injuries. See Ohio

Citizen Action v. City of Englewood, 671 F.3d 564, 570-71 (6th Cir. 2012).

       Nor can labeling something a facial challenge bypass the rule that courts’

remedial powers are limited to the parties before them. Under our Constitution, a

valid remedy “operate[s] with respect to specific parties,” not on a law “in the

abstract.” California v. Texas, 141 S.Ct. 2104, 2115 (2021). So when a district court

“order[s] the government” to “refrain from acting toward nonparties,” it exceeds “the

judicial power.” Arizona v. Biden, 31 F.4th 469, 483-84 (6th Cir. 2022) (Sutton, J.,



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concurring). “After all, the ‘judicial Power’ is the power to ‘decide cases for parties,

not questions for everyone.’” United States v. Texas, 143 S.Ct. 1964, 1980 (2023)

(Gorsuch, J., concurring). District courts err when they craft injunctions that

“circumvent rules governing class-wide relief.” Id.; see Kentucky v. Yellen, 54 F.4th

325, 341 & n.12 (6th Cir. 2022) (To “obtain injunctive relief, Kentucky and

Tennessee each had to demonstrate, with evidence, why it was suffering

particularized continuing or imminent injuries in fact.”).

      In all events, the Act is not facially unconstitutional. Under United States v.

Salerno, “A facial challenge to a legislative Act is, of course, the most difficult

challenge to mount successfully, since the challenger must establish that no set of

circumstances exists under which the Act would be valid.” 481 U.S. 739, 745

(1987). As Tennessee argued below, the Act has many lawful applications. Even if

it failed intermediate scrutiny as applied to Plaintiffs, it could survive when applied

to: healthcare providers who treat minors without meeting the medical guidelines

Plaintiffs cite, minors under the age of 12, minors with a parent who does not

consent, minors with unfit parents, minors with severe mental disabilities, minors in

state custody, and more. The Act does, in fact, apply to these scenarios. Contra Op.

R.167, PageID#2720-21 (wrongly claiming the Act would “have no application” to

minors in those situations).

      The district court never denied that prohibiting treatment in those situations



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would be constitutional. It claimed any lawful applications were irrelevant because

Salerno is now “a dead-letter.” Op., R.167, PageID#2720-22. This Court itself,

however, has “many cases adhering to the Salerno test.” Stay Op.5 (majority)

(compiling examples). And the Supreme Court reaffirmed just last month, quoting

Salerno, that “litigants mounting a facial challenge to a statute normally ‘must

establish that no set of circumstances exists under which the [statute] would be

valid’”—meaning a statute cannot be “facially unconstitutional” when it has “lawful

applications.” United States v. Hansen, 143 S.Ct. 1932, 1939 (2023). Until the

Supreme Court says otherwise, Salerno remains a limit on district courts’ ability to

grant relief beyond the parties. Warshak v. United States, 532 F.3d 521, 529-31 (6th

Cir. 2008) (en banc). The district court abused its discretion in doing the opposite.




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                                 CONCLUSION

      Defendants respectfully request that this Court reverse the district court’s

preliminary injunction order.


                                     Respectfully submitted,


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                       CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B) because it contains 12,980 words, excluding the parts exempted

by Fed. R. App. P. 32(f).

      This brief also complies with the typeface and type style requirements of Fed.

R. App. P. 32(a)(5)-(6) because it has been prepared in proportionally spaced

typeface using Times New Roman 14-point font.


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July 24, 2023
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                           CERTIFICATE OF SERVICE

      I, Clark Hildabrand, counsel for Defendants-Appellants and a member of the

Bar of this Court, certify that, on July 24, 2023, a copy of the Brief of

Defendants-Appellants was filed electronically through the appellate CM/ECF

system. I further certify that all parties required to be served have been served.

                                       /s/ Clark L. Hildabrand
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                           STATUTORY PROVISIONS
                Tenn. Code Ann. § 68-33-101, et seq. (“The Act”)

68-33-101. Findings.

(a) The legislature declares that it must take action to protect the health and welfare
of minors.

(b) The legislature determines that medical procedures that alter a minor’s hormonal
balance, remove a minor’s sex organs, or otherwise change a minor’s physical
appearance are harmful to a minor when these medical procedures are performed for
the purpose of enabling a minor to identify with, or live as, a purported identity
inconsistent with the minor’s sex or treating purported discomfort or distress from a
discordance between the minor’s sex and asserted identity. These procedures can
lead to the minor becoming irreversibly sterile, having increased risk of disease and
illness, or suffering from adverse and sometimes fatal psychological consequences.
Moreover, the legislature finds it likely that not all harmful effects associated with
these types of medical procedures when performed on a minor are yet fully known,
as many of these procedures, when performed on a minor for such purposes, are
experimental in nature and not supported by high-quality, long-term medical studies.

(c) The legislature determines that there is evidence that medical procedures that
alter a minor’s hormonal balance, remove a minor’s sex organs, or otherwise change
a minor’s physical appearance are not consistent with professional medical standards
when the medical procedures are performed for the purpose of enabling a minor to
identify with, or live as, a purported identity inconsistent with the minor’s sex or
treating purported discomfort or distress from a discordance between the minor’s
sex and asserted identity because a minor’s discordance can be resolved by less
invasive approaches that are likely to result in better outcomes for the minor.

(d) The legislature finds that medical procedures are being performed on and
administered to minors in this state for such purposes, notwithstanding the risks and
harms to the minors.

(e) The legislature finds that health authorities in Sweden, Finland, and the United
Kingdom have recognized similar trends and, after conducting systematic reviews
of the evidence, have found no evidence that the benefits of these procedures
outweigh the risks and thus have placed severe restrictions on their use.


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(f) The legislature finds that Dr. John Money, one of the earliest advocates for
performing or administering such medical procedures on minors and a founder of
the Johns Hopkins Gender Identity Clinic, abused minors entrusted to his care,
resulting in the suicides of David and Brian Reimer.

(g) The legislature finds that such medical procedures are being performed on and
administered to minors in this state with rapidly increasing frequency and that
supposed guidelines advocating for such treatment have changed substantially in
recent years.

(h) The legislature finds that minors lack the maturity to fully understand and
appreciate the life-altering consequences of such procedures and that many
individuals have expressed regret for medical procedures that were performed on or
administered to them for such purposes when they were minors.

(i) The legislature finds that many of the same pharmaceutical companies that
contributed to the opioid epidemic have sought to profit from the administration of
drugs to or use of devices on minors for such purposes and have paid consulting fees
to physicians who then advocate for administration of drugs or use of devices for
such purposes.

(j) The legislature finds that healthcare providers in this state have sought to perform
such surgeries on minors because of the financial incentive associated with the
surgeries, not necessarily because the surgeries are in a minor's best interest.

(k) The legislature finds that healthcare providers in this state have threatened
employees for conscientiously objecting, for religious, moral, or ethical reasons, to
performing or administering such medical procedures.

(l) The legislature finds that healthcare providers in this state have posted pictures
of naked minors online to advertise such surgeries.

(m) The legislature declares that the integrity and public respect of the medical
profession are significantly harmed by healthcare providers performing or
administering such medical procedures on minors. This state has a legitimate,
substantial, and compelling interest in protecting minors from physical and
emotional harm. This state has a legitimate, substantial, and compelling interest in
protecting the ability of minors to develop into adults who can create children of
their own. This state has a legitimate, substantial, and compelling interest in
promoting the dignity of minors. This state has a legitimate, substantial, and
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compelling interest in encouraging minors to appreciate their sex, particularly as
they undergo puberty. This state has a legitimate, substantial, and compelling
interest in protecting the integrity of the medical profession, including by prohibiting
medical procedures that are harmful, unethical, immoral, experimental, or
unsupported by high-quality or long-term studies, or that might encourage minors to
become disdainful of their sex.

(n) Therefore, it is the purpose of this chapter to prohibit medical procedures from
being administered to or performed on minors when the purpose of the medical
procedure is to:

   (1) Enable a minor to identify with, or live as, a purported identity inconsistent
       with the minor's sex; or

   (2) Treat purported discomfort or distress from a discordance between the minor's
       sex and asserted identity.

68-33-102. Definitions.

As used in this chapter:

(1) "Congenital defect" means a physical or chemical abnormality present in a minor
that is inconsistent with the normal development of a human being of the minor's
sex, including abnormalities caused by a medically verifiable disorder of sex
development, but does not include gender dysphoria, gender identity disorder,
gender incongruence, or any mental condition, disorder, disability, or abnormality;

(2) "Healthcare provider" means a healthcare professional, establishment, or facility
licensed, registered, certified, or permitted pursuant to this title or title 63 and under
the regulatory authority of:

      (A) The department of health;

      (B) An agency, board, council, or committee attached to the department of
          health; or

      (C) The health facilities commission;

(3) "Hormone" means an androgen or estrogen;

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(4) "Knowing" and "knowingly" have the same meaning as the term "knowing" is
defined in § 39-11-302;

(5) "Medical procedure" means:

      (A) Surgically removing, modifying, altering, or entering into tissues,
          cavities, or organs of a human being; or

      (B) Prescribing, administering, or dispensing any puberty blocker or
          hormone to a human being;

(6) "Minor" means an individual under eighteen (18) years of age;

(7) "Parent" means any biological, legal, or adoptive parent or parents of the minor
or any legal guardian of the minor;

(8) "Puberty blocker" means a drug or device that suppresses the production of
hormones in a minor's body to stop, delay, or suppress pubertal development; and

(9) "Sex" means a person's immutable characteristics of the reproductive system that
define the individual as male or female, as determined by anatomy and genetics
existing at the time of birth.

68-33-103. Prohibitions.

(a)(1) A healthcare provider shall not knowingly perform or offer to perform on a
minor, or administer or offer to administer to a minor, a medical procedure if the
performance or administration of the procedure is for the purpose of:

      (A) Enabling a minor to identify with, or live as, a purported identity
          inconsistent with the minor's sex; or

      (B) Treating purported discomfort or distress from a discordance between
          the minor's sex and asserted identity.

   (2) Subdivision (a)(1) applies to medical procedures that are:

       (A) Performed or administered in this state; or



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       (B) Performed or administered on a minor located in this state, including via
           telehealth, as defined in § 63-1-155.

(b)(1) It is not a violation of subsection (a) if a healthcare provider knowingly
performs, or offers to perform, a medical procedure on or administers, or offers to
administer, a medical procedure to a minor if:

       (A) The performance or administration of the medical procedure is to treat
           a minor's congenital defect, precocious puberty, disease, or physical
           injury; or

       (B) The performance or administration of the medical procedure on the
           minor began prior to the effective date of this act and concludes on or
           before March 31, 2024.

   (2) For purposes of subdivision (b)(1)(A), "disease" does not include gender
dysphoria, gender identity disorder, gender incongruence, or any mental condition,
disorder, disability, or abnormality.

   (3) For the exception in subdivision (b)(1)(8) to apply, the minor's treating
physician must certify in writing that, in the physician's good-faith medical
judgment, based upon the facts known to the physician at the time, ending the
medical procedure would be harmful to the minor. The certification must include the
findings supporting the certification and must be made a part of the minor's medical
record.

   (4) The exception in subdivision (b)(1)(8) does not allow a healthcare provider
to perform or administer a medical procedure that is different from the medical
procedure performed prior to the effective date of this act when the sole purpose of
the subsequent medical procedure is to:

        (A) Enable the minor to identify with, or live as, a purported identity
            inconsistent with the minor's sex; or

        (B) Treat purported discomfort or distress from a discordance between the
            minor's sex and asserted identity.

(c)(1) It is not a defense to any legal liability incurred as the result of a violation of
this section that the minor, or a parent of the minor, consented to the conduct that
constituted the violation.
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   (2) This section supersedes any common law rule regarding a minor's ability to
consent to a medical procedure that is performed or administered for the purpose of:

        (A) Enabling the minor to identify with, or live as, a purported identity
            inconsistent with the minor's sex; or

        (B) Treating purported discomfort or distress from a discordance between
            the minor's sex and asserted identity.

68-33-104. Distribution of Hormones or Puberty Blockers to Minors.

A person shall not knowingly provide a hormone or puberty blocker by any means
to a minor if the provision of the hormone or puberty blocker is not in compliance
with this chapter.

68-33-105. Private Right of Action.

(a)(1) Except as otherwise provided in subdivision (a)(2), a minor, or the parent of a
minor, injured as a result of a violation of this chapter, may bring a civil cause of
action to recover compensatory damages, punitive damages, and reasonable
attorney's fees, court costs, and expenses, against the healthcare provider alleged to
have violated § 68-33-103 or any person alleged to have violated § 68-33-104.

   (2) The parent of a minor injured as a result of a violation of this chapter shall
not bring a civil cause of action against a healthcare provider or another person if
the parent consented to the conduct that constituted the violation on behalf of the
minor.

(b) The parent or next of kin of a minor may bring a wrongful death action, pursuant
to title 20, chapter 5, part 1, against a healthcare provider alleged to have violated §
68-33-103, if the injured minor is deceased and:

         (1) The minor's death is the result of the physical or emotional harm
             inflicted upon the minor by the violation; and

         (2) The parent of the minor did not consent to the conduct that constituted
             the violation on behalf of the minor.



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(c) If a court in any civil action brought pursuant to this section finds that a healthcare
provider knowingly violated § 68-33-103, then the court shall notify the appropriate
regulatory authority and the attorney general and reporter by mailing a certified copy
of the court's order to the regulatory authority and the attorney general and reporter.
Notification pursuant to this subsection (c) shall be made upon the judgment of the
court being made final.

(d) For purposes of subsection (a), compensatory damages may include:

   (1) Reasonable economic losses caused by the emotional, mental, or physical
effects of the violation, including, but not limited to:

         (A) The cost of counseling, hospitalization, and any other medical expenses
             connected with treating the harm caused by the violation;

         (B) Any out-of-pocket costs of the minor paid to the healthcare provider for
             the prohibited medical procedure; and

         (C) Loss of income caused by the violation; and

   (2) Noneconomic damages caused by the violation, including, but not limited to,
psychological and emotional anguish.

(e) Notwithstanding any law to the contrary, an action commenced under this section
must be brought:

         (1) Within thirty (30) years from the date the minor reaches eighteen
         (18) years of age; or

         (2) Within ten (10) years of the minor's death if the minor dies.

(f) This section Is declared to be remedial in nature, and this section must be liberally
construed to effectuate its purposes.

68-33-106. Attorney General and Reporter's Right of Action.

(a) The attorney general and reporter shall establish a process by which violations of
this chapter may be reported.



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(b) The attorney general and reporter may bring an action against a healthcare
provider or any person that knowingly violates this chapter, within twenty (20) years
of the violation, to enjoin further violations, to disgorge any profits received due to
the medical procedure, and to recover a civil penalty of twenty-five thousand dollars
($25,000) per violation. Each time a healthcare provider performs or administers a
medical procedure in violation of § 68-33-103 constitutes a separate violation.

(c) A civil penalty collected pursuant to this section must be paid into the general
fund of this state.

(d) The attorney general and reporter is entitled to reasonable attorney's fees, court
costs, and expenses if the attorney general and reporter prevails in an action brought
pursuant to this section.

(e) Jurisdiction for an action brought pursuant to this section is in the chancery or
circuit court of Williamson County or circuit court in the county where the violation
occurred.

68-33-107. Healthcare Provider Licensing Sanctions.

A violation of § 68-33-103 constitutes a potential threat to public health, safety, and
welfare and requires emergency action by an alleged violator's appropriate
regulatory authority. Upon receiving notification pursuant to § 68-33-105(c), or
upon otherwise becoming aware of an alleged violation of § 68-33-103, the
appropriate regulatory authority shall proceed pursuant to title 63 or this title, as
applicable.

68-33-108. Minor Immunity.

A minor upon whom a medical procedure is performed or administered must not be
held liable for violating this chapter.

68-33-109. Application.

This chapter does not prohibit or restrict psychological practice regulated pursuant
to title 63, chapter 11; the practice of professional counseling regulated pursuant to
title 63, chapter 22; or the practice of social work regulated pursuant to title 63,
chapter 23.



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                                    Other Statutes

18 U.S.C. § 116

(a) Except as provided in subsection (b), whoever, in any circumstance described in
subsection (d), knowingly--

      (1) performs, attempts to perform, or conspires to perform female genital
mutilation on another person who has not attained the age of 18 years;

      (2) being the parent, guardian, or caretaker of a person who has not attained
the age of 18 years facilitates or consents to the female genital mutilation of such
person; or

       (3) transports a person who has not attained the age of 18 years for the purpose
of the performance of female genital mutilation on such person,

shall be fined under this title, imprisoned not more than 10 years, or both.

(b) A surgical operation is not a violation of this section if the operation is--

       (1) necessary to the health of the person on whom it is performed, and is
performed by a person licensed in the place of its performance as a medical
practitioner; or

      (2) performed on a person in labor or who has just given birth and is performed
for medical purposes connected with that labor or birth by a person licensed in the
place it is performed as a medical practitioner, midwife, or person in training to
become such a practitioner or midwife.

(c) It shall not be a defense to a prosecution under this section that female genital
mutilation is required as a matter of religion, custom, tradition, ritual, or standard
practice.

(d) For the purposes of subsection (a), the circumstances described in this subsection
are that--

       (1) the defendant or victim traveled in interstate or foreign commerce, or
traveled using a means, channel, facility, or instrumentality of interstate or foreign

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commerce, in furtherance of or in connection with the conduct described in
subsection (a);

       (2) the defendant used a means, channel, facility, or instrumentality of
interstate or foreign commerce in furtherance of or in connection with the conduct
described in subsection (a);

       (3) any payment of any kind was made, directly or indirectly, in furtherance
of or in connection with the conduct described in subsection (a) using any means,
channel, facility, or instrumentality of interstate or foreign commerce or in or
affecting interstate or foreign commerce;

       (4) the defendant transmitted in interstate or foreign commerce any
communication relating to or in furtherance of the conduct described in subsection
(a) using any means, channel, facility, or instrumentality of interstate or foreign
commerce or in or affecting interstate or foreign commerce by any means or in
manner, including by computer, mail, wire, or electromagnetic transmission;

       (5) any instrument, item, substance, or other object that has traveled in
interstate or foreign commerce was used to perform the conduct described in
subsection (a);

      (6) the conduct described in subsection (a) occurred within the special
maritime and territorial jurisdiction of the United States, or any territory or
possession of the United States; or

       (7) the conduct described in subsection (a) otherwise occurred in or affected
interstate or foreign commerce.

(e) For purposes of this section, the term “female genital mutilation” means any
procedure performed for non-medical reasons that involves partial or total removal
of, or other injury to, the external female genitalia, and includes--

       (1) a clitoridectomy or the partial or total removal of the clitoris or the prepuce
or clitoral hood;

       (2) excision or the partial or total removal (with or without excision of the
clitoris) of the labia minora or the labia majora, or both;



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      (3) infibulation or the narrowing of the vaginal opening (with or without
excision of the clitoris); or

      (4) other procedures that are harmful to the external female genitalia,
including pricking, incising, scraping, or cauterizing the genital area.

28 U.S.C. § 1292(a)(1)

(a) Except as provided in subsections (c) and (d) of this section, the courts of appeals
shall have jurisdiction of appeals from:

      (1) Interlocutory orders of the district courts of the United States, the United
      States District Court for the District of the Canal Zone, the District Court of
      Guam, and the District Court of the Virgin Islands, or of the judges thereof,
      granting, continuing, modifying, refusing or dissolving injunctions, or
      refusing to dissolve or modify injunctions, except where a direct review may
      be had in the Supreme Court;

      ***

28 U.S.C. § 1331

The district courts shall have original jurisdiction of all civil actions arising under
the Constitution, laws, or treaties of the United States.

28 U.S.C. § 1343

(a) The district courts shall have original jurisdiction of any civil action authorized
by law to be commenced by any person:

   (1) To recover damages for injury to his person or property, or because of the
       deprivation of any right or privilege of a citizen of the United States, by any
       act done in furtherance of any conspiracy mentioned in section 1985 of Title
       42;

   (2) To recover damages from any person who fails to prevent or to aid in
       preventing any wrongs mentioned in section 1985 of Title 42 which he had
       knowledge were about to occur and power to prevent;



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   (3) To redress the deprivation, under color of any State law, statute, ordinance,
       regulation, custom or usage, of any right, privilege or immunity secured by
       the Constitution of the United States or by any Act of Congress providing for
       equal rights of citizens or of all persons within the jurisdiction of the United
       States;

   (4) To recover damages or to secure equitable or other relief under any Act of
       Congress providing for the protection of civil rights, including the right to
       vote.

***

28 U.S.C. § 1367

(a) Except as provided in subsections (b) and (c) or as expressly provided otherwise
by Federal statute, in any civil action of which the district courts have original
jurisdiction, the district courts shall have supplemental jurisdiction over all other
claims that are so related to claims in the action within such original jurisdiction that
they form part of the same case or controversy under Article III of the United States
Constitution. Such supplemental jurisdiction shall include claims that involve the
joinder or intervention of additional parties.


(b) In any civil action of which the district courts have original jurisdiction founded
solely on section 1332 of this title, the district courts shall not have supplemental
jurisdiction under subsection (a) over claims by plaintiffs against persons made
parties under Rule 14, 19, 20, or 24 of the Federal Rules of Civil Procedure, or over
claims by persons proposed to be joined as plaintiffs under Rule 19 of such rules, or
seeking to intervene as plaintiffs under Rule 24 of such rules, when exercising
supplemental jurisdiction over such claims would be inconsistent with the
jurisdictional requirements of section 1332.

(c) The district courts may decline to exercise supplemental jurisdiction over a claim
under subsection (a) if—

      (1) the claim raises a novel or complex issue of State law,

      (2) the claim substantially predominates over the claim or claims over which
         the district court has original jurisdiction,

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    (3) the district court has dismissed all claims over which it has original
       jurisdiction, or

    (4) in exceptional circumstances, there are other compelling reasons for
       declining jurisdiction.

(d) The period of limitations for any claim asserted under subsection (a), and for any
other claim in the same action that is voluntarily dismissed at the same time as or
after the dismissal of the claim under subsection (a), shall be tolled while the claim
is pending and for a period of 30 days after it is dismissed unless State law provides
for a longer tolling period.

(e) As used in this section, the term “State” includes the District of Columbia, the
Commonwealth of Puerto Rico, and any territory or possession of the United States.

42 U.S.C. §2000e-2

(a) Employer practices

      It shall be an unlawful employment practice for an employer—

       (1) to fail or refuse to hire or to discharge any individual, or otherwise to
discriminate against any individual with respect to his compensation, terms,
conditions, or privileges of employment, because of such individual's race, color,
religion, sex, or national origin; or

      (2) to limit, segregate, or classify his employees or applicants for employment
in any way which would deprive or tend to deprive any individual of employment
opportunities or otherwise adversely affect his status as an employee, because of
such individual's race, color, religion, sex, or national origin.

      ***
42 U.S.C. §2000h-2

Whenever an action has been commenced in any court of the United States seeking
relief from the denial of equal protection of the laws under the fourteenth amendment
to the Constitution on account of race, color, religion, sex or national origin, the
Attorney General for or in the name of the United States may intervene in such action
upon timely application if the Attorney General certifies that the case is of general

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public importance. In such action the United States shall be entitled to the same relief
as if it had instituted the action.

Tenn. Code Ann. § 39-15-213

(a) As used in this section:

   (1) “Abortion” means the use of any instrument, medicine, drug, or any other
       substance or device with intent to terminate the pregnancy of a woman known
       to be pregnant with intent other than to increase the probability of a live birth,
       to preserve the life or health of the child after live birth, or to remove a dead
       fetus;

   (2) “Fertilization” means that point in time when a male human sperm penetrates
       the zona pellucida of a female human ovum;

   (3) “Pregnant” means the human female reproductive condition of having a
       living unborn child within her body throughout the entire embryonic and fetal
       stages of the unborn child from fertilization until birth; and

   (4) “Unborn child” means an individual living member of the species, homo
       sapiens, throughout the entire embryonic and fetal stages of the unborn child
       from fertilization until birth.

(b) A person who performs or attempts to perform an abortion commits the offense
of criminal abortion. Criminal abortion is a Class C felony.

(c) It is an affirmative defense to prosecution under subsection (b), which must be
proven by a preponderance of the evidence, that:

   (1) The abortion was performed or attempted by a licensed physician;

   (2) The physician determined, in the physician's good faith medical judgment,
       based upon the facts known to the physician at the time, that the abortion was
       necessary to prevent the death of the pregnant woman or to prevent serious
       risk of substantial and irreversible impairment of a major bodily function of
       the pregnant woman. No abortion shall be deemed authorized under this
       subdivision (c)(2) if performed on the basis of a claim or a diagnosis that the
       woman will engage in conduct that would result in her death or substantial

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       and irreversible impairment of a major bodily function or for any reason
       relating to her mental health; and

   (3) The physician performs or attempts to perform the abortion in the manner
       which, in the physician's good faith medical judgment, based upon the facts
       known to the physician at the time, provides the best opportunity for the
       unborn child to survive, unless in the physician's good faith medical
       judgment, termination of the pregnancy in that manner would pose a greater
       risk of the death of the pregnant woman or substantial and irreversible
       impairment of a major bodily function. No such greater risk shall be deemed
       to exist if it is based on a claim or diagnosis that the woman will engage in
       conduct that would result in her death or substantial and irreversible
       impairment of a major bodily function or for any reason relating to her mental
       health.

(d) Medical treatment provided to the pregnant woman by a licensed physician
which results in the accidental death of or unintentional injury to or death of the
unborn child shall not be a violation of this section.

(e) This section does not subject the pregnant woman upon whom an abortion is
performed or attempted to criminal conviction or penalty.

Tenn. Code Ann. § 49-6-310

(a) A student's gender for purposes of participation in a public middle school or high
school interscholastic athletic activity or event must be determined by the student's
sex at the time of the student's birth, as indicated on the student's original birth
certificate. If a birth certificate provided by a student pursuant to this subsection (a)
does not appear to be the student's original birth certificate or does not indicate the
student's sex upon birth, then the student must provide other evidence indicating the
student's sex at the time of birth. The student or the student's parent or guardian must
pay any costs associated with providing the evidence required under this subsection
(a).

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Tenn. Code Ann. § 62-38-211

(a) Except as provided in subsection (c), it is a Class A misdemeanor to tattoo a
person under eighteen (18) years of age.
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Cal. Penal Code § 819

(a) It is the public policy of the state that an out-of-state arrest warrant for an
individual based on violating another state's law against providing, receiving, or
allowing their child to receive gender-affirming health care or gender-affirming
mental health care is the lowest law enforcement priority.

(b) California law enforcement agencies shall not knowingly make or participate in
the arrest or participate in any extradition of an individual pursuant to an out-of-state
arrest warrant for violation of another state's law against providing, receiving, or
allowing a child to receive gender-affirming health care and gender-affirming mental
health care in this state, if that care is lawful under the laws of this state, to the fullest
extent permitted by federal law.

(c) No state or local law enforcement agency shall cooperate with or provide
information to any individual or out-of-state agency or department regarding the
provision of lawful gender-affirming health care or gender-affirming mental health
care performed in this state.

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Minn. Stat. § 260.925

A law of another state that authorizes a state agency to remove a child from the
child's parent or guardian because the parent or guardian allowed the child to receive
gender-affirming health care, as defined in section 543.23, paragraph (b), is against
the public policy of this state and must not be enforced or applied in a case pending
in a court in this state. A court order for the removal of a child issued in another state
because the child's parent or guardian assisted the child in receiving gender-
affirming care in this state must not be enforced in this state.

Miss. Code Ann. § 41-41-191

(3) Definitions. As used in this section:

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     (f) “Gestational age” or “probable gestation age” means the age of an unborn
human being as calculated from the first day of the last menstrual period of the
pregnant woman.

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